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I ntlosed henwith is the prelimuiar) drafi of the al×ne mentioned task force rtp r1.

I h.nr altrady espitsstd I' Ruh.ird ½thm,ilensee and his group my apprtrulion o
 he eutilcot work tlut this rtport rtncils.   I know that he. .ind they, will uritome
ans unnmcnts or suu.etstions th.il you m.iy h.nc conteronig it .ind would encour.igt
you to communicate them directly to Dr, Schmalensee.

We will h.ave an opportunity to discuss this report in a Working Group meeting in
the near future.

Please do not copy or otherwise distribute this preliminary draft



 Attachment




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                                                                                c.n




including Nancy Maynard, and to a few interested individuals in
the complex.)   The "Preliminary Draft" header is intended as leak
protection; no further work is planned.

     CEA is mainly responsible for the lateness of this report;
we were slowed by the Economic Report of the President and by
severe secretarial and word processing problems.  All other
agency representatives on the Task Force discharged their
responsibilities well and quickly and deserve the Working Group's
thanks,  I strongly believe that this consensus document is a
better report than any single agency could have produced and that
it describes well what we know and don't know.           I would be happy
to sketch its findings to the DPC Working Group if you think it
appropriate, though it may be more efficient simply to direct
Working Group members to the Executive Summary.




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   THE ECONOMICS OF GLOBAL CLIMATE CHANGE:
              A PRELIMINARY ASSESSMENT



                     Task Force on Economic Costs
                    Working Group on Global Change
                       Domestic Policy Council




                       Version of March 1, 1990




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                                                             EXECUTIVE SUMMARY

               Eere          are     substantial             gaps    in current          kr.owledge            ab·eut     the     econo::alcs           and

pr.vr.1col           sctence          oi      g1obal      c1Ir..ate    chanc.e              Ir.   Iac:     a!·nost        n'.1    the

quantitative                   prcjections              in this      report.          as wr11       as many         of    the qualitati·.·c

 ar.sertions                   are   controversial                  Projections          of       climate       effects          and costs             in

 the         distant           future      are     inherentiv          icss      re'.iabic          than   forecasts             of    cliente          and

 .o:1cy co:.tu                  in the short             run

                  ,nc     .ns,       !·arce    recocneth.           cl.at   an    internr.ct.cy,           coordinated ccm omic

         .carch ; tog:an be                   underrúcn              similar      to    that        ir   rho    cli:aate         scier:ces,            tr·a

             d ev..luate             the   econnsic          effects        of possible             future      clinate change                   and    the

 benefits               of     '.low!ng       such change             the conto         and effectiveness                     of variou-.

  adapt ive             and cruis.ions                reduction :reasures               and        the effects           of    mach measures                  er.

  ·_     s     and world trade                 ar.:!    capita'.      flows

                  ne      ren.zinder          of      this   Executive        Susi:nnry           provides      a    very brief             outline           cf

   c.;        ruin        findinr.s           Readers. with an interent                       in a particular                 topic.        such m3

                  pac-         of possib;c            clin.ate      cF1arige· on er,riculture or                    estimates         of     the

   .      cmoc.         wide     !:rpacts        of     measures      to    limir      carbor        dioxide em.i             sions,        should

                                e r·..ain report,            while    icngthy.         is     structured            to allow          for    a

       ... ;c c      ve      re ad! ry,



                                                                       BACKGRDL'ND



             ..,nh      se r,n -.     En i s n i er s



                     Possible climate chartr,e                   is not a ono·gar. or one-nation problea                                          Carbor

        dioxide. CFCr., methane,                        and nitrous oxide have accounted                             for about          67 percent
        o!     the      ir.c.rease      in radiative             (greer1,ouse)         forcing in the                1960s            Projections

        of     future emissions of these r,anes are uncertain, and cozparisons of                                                            the
        ,ggects           of    those catcsions              are not coupletelv straightforvntd



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            Carbon Dioxide              Given the projected expansion in fossil energy use
throughout          the world,         CO2 is expected to account                for a larger share of

increased radiative                 forcing      in the      future    than in the past           The United States

now    accounts        for about        21 percent of          total anthropogenic        CO2 emissions               but

that    share        is expected to shrink to around                    12 percent by the middic of the
next century

            Methane          En.issions        rates of      major    sources    of CH. are    subject      to

significant           uncertainty             over half of       total    anthropo6enic       c:nissions     of

methane        are    produced by            domestic    animals      (enteric    fermentation}      and rice

cultivation               Centrally planned and developing nations                      account     for    the    bulk cf

 these      emissions


             CFCs         no United States          and other developed nations now account                       for

 well       over half        of   emissions of      CFCs and related gasca              but   the   shares       at          .   .   2

 developing nations are expected                        to   increase    sharply ar.    reduction.s and

 phasecuts          are    implemented         in accord with the Montreal             Protocol

             Nitrous oxide             Most     Ny0 emissions        are associated with agricultural

 a     rivity and animal husbandry                      Data on natural         and anthropogenic         sources of
 nitrous       oxide emissions               are poor




             Projections          of   future emissions of            greenhouse g.ases are hiEh!y           sensitive

  tu    future       rates      of population growth            economic    growth,    and development           of    new

  technologies            for     energy production and use               The    inability    to place narrow

  bounds on any of these                 factors necessarily places very wide bounds on any
  forecast       of    future es!asions

              Even if future emissions are assumed to be known                          considerable
     ancertainty attaches to the c11aste changes that                            would result     from increased
     atmospheric concentration of greenhouse gases                              The effects of greenhouse
     gases on global climate are forecast by climate models,                            a relatively new tool
     that    say be    re!!able        int    the direction of        temperature change but not for its

     entent         Climate modela pred!ct that a doubling of the concentration of carbon


                                                               vil                                                           .




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dioxide      relative          to    the preindustrial          at:aosphere        -or      its    equivalent            in    ter-as

of   a   combinatior. of             greenhous'    Sases--would result                  in an eventual               global

average warning of berveen 2                    and 9     degrees       Fahrenheit                If    the    ,atmosphere

begins      to warm,       a    transfer of       heat    from    the     air    to    the    oceans          is   expected         to

slow the rate at which a!r                    resperature actuall-,              rises            This effect            could

delay     the     full    impact       of any given       increase        in    the concentration of greer±ouse
Eases on observed air temperature for decades                                  or even centuries,                  with wide
variations by region

          Soire    models       suggest      a tracked coil       amistarc        decrease         in nid-latttade

continental         regions d          rinr, su:nrer       Globa;       sea     1cvel    increases hs               205') of       25

to 40 centinctors               Crecer.t     IPCC estimate)        could occur           if warning of 2°                 to   9

Fahrenheit         occurred by          the middle       of the    next       century         Regional             impacts

possible        climate        change are highly uncertain



Policy Alternatives

            Planned adaptation              involves actions        taken in recognition of anticipated

warming to deal            with       its   effects      Unplanned adaptation                 involves short-run

 responses        to actual          warming as   it    takes     place                Ka    i©n Policies            are      cized

at    reducing the         ratt of possible warning by reducing net                           ca:issions            of

greer±ouse         games            HitiEation policies oust            general y be              Laplemented well

before       adaptation policies                They must       also be        implemented on a global                     scale

The      iæpartant       economic       !ap11cations      of differences              in ticing between

 adaptation and aítigation costs                      can only be       revealed by discounting


            Given that the risk of global warning is still unclear, additional
 research is certainly called for                        Beyond that,           relatively         inexpensive,

 flexible policies that can casily be
                                                           reversed or expanded,                   and policies that
 can be justified for reasons other than climate change should be highly
 va l uad




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                              ADA.PTATION    LIVINC WITH GIABAL WAMING


C innte and the Econoey

          The direct economic ettects of climate change vould be concentrated
primartiv in agriculture, forestry. and possibly fisheries, which currently
 account    for about       2 percent of U S      Gross Domestic Product       (GDP)   and about

 percent of world CDP             In addition.    a rise    in the sea level could inundate

 valuable dry land             Apart   from agriculture and sea level       rise,   little
 quantitative        research on climate       impacts or    adaptation costs has been done

          The indirect effects of climate change will create winners and losers
 throughour      the United States and global econoales as demand shifts occur                      For
                                                                                                                  o
 example,     demand for air conditioners and sunmertine electricity could rise,                          -....   A
 while demand for space heating equipment and fuels and could fall                        Tourism
  mig,ht also be affected              The costs of adapeation would depend critically on
  how rapidly warning occurs relative to the economic lifetimes of major

  1.r..mob i 1e asse t s



  Art i c,11 t ute

           cliente change could affect agricultural yields both positively and
  twr_Stively        through variations     in regional     temperature,   acasonality,

   precipitation,          and soil moisture     Estimates of these effects are very
   uecertain          While increased CO2 concentrations alone would likely have a
   d!rect positive effect          on efficiency of photosyr,thesia and water use,           the
   effec.ts of higher temperatures could reduce yields                 Fstimates of the impact
   of future global change on U S              cereal crop yicids ra:.ge fro:s an increase of
   10 to 15 percent to a decrease of             about   the same magnitude

            Net economic effects on any country's agricultural sector depend on
    global yields and consequent            impacts on market prices and trade         flows as well
    .. on regional yield effects             USDA analysis abows that a scenario involving
    U 5     yield decreases of between 10 and IS percent            results in slightly




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increased overall U 5              velfare once the effects et             increased export prices are

factored into the analyst:,                  This analysis sugr.ests that climate-induced
changes in agriculture would not produce major pos.tive or negative economit
effects bs        the raiddic of      the next centur-v        et.     there could be       significant

regional dislocations in crop productior


 sea.    eve'    chanres

           The adverse effects of Fossible sea level                 rise on coastal
 infrastructure.             recreation    and consral    ceolop     could be either        large or

 r.mall depending on ine r"                     Eª²"                ,, icvel zi-.e and on the
 extent of plannco adaptattun                  Wile der.selv developed choreline areas ir. th

 i·nited states could be protected ag.a!nst                sea-level       riscs   that   trir.ht occur b·
   OD     for    less than 51:' billtor. (present value).            significant      ret    losses of

  drs;andt.      and wetlands could occur



  Hu::nr Health
              The impacts of a pns..!ble warmir-r, on tasman health are extremely

        n-.roversini,        and the scoFe    for P ^°"ed ad8P         °
   sha.       siF:nificant     possible   increar.cs   in heat-related deaths         while    other     ary.uc

   -hat       cit ics with appreciably different         climates      show no climate       related

          e    encer   tr. hcalth risk        Clobal   warming would likely cause           some   vector-

   9.     e    tropical d'.sa.ases to -.pread northward,         but    the nagnitude of this prohl. n
           nclear       or    the other hand.    there could be a decline          in cold-related

   dent hs




                Forestry       if sigr.lticant varming occurs.. changes in 11 5             fc.rests could
    be apparent         in 30 to 80 years         significant changes        in forest range are
    pu.r.ible          Changes in forest distribution and composition could have major
        impacts on tinber 1.roduction, runoff from furents, and recreational
        opporturaties          Without human interventinn. rapid warning may make a northward




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forest migrattor. difficult          Today's forest management decisions could have
long-tern impacts on the composition and location of forests

      Fisheries         fishery resources are known to be sensitive to c11aate
variation      However,     the qualitative     effects of   sarming on fisheries      are

highly uncertain, and no quantitative economic analysis has. ro our knowledg.·
been attempted          Absent human intervention. ocean species are likely to be
 less affected by any climate change than freshwater species.             since oceans

 would respond to atuospheric warming more slowly than smaller bodies of water
 both the need and the opportunity ior planned adaptation in the conmercial

 itshing sector appears to be        lietted

       Vater Resources          in general. it is difficult to predict the impacts of
 climate change on water resources with much confidence because of
 uncertainties about regional prectptration             lf significantly higher
 temperatures occur         water supplies    in California and the   lower Creat ukes

  could be    reduced

           Biodiversity      The impacts of climate change on natural cossunitica are
  difficult    to predict      Ponaíble globai warning could result      in a decline        in
  biodiversity steuning froe the        loss or change of habitats     that   result   in the

  declane or loss of some animal and plant species


                        MITIGATION   LIMITING CREENHOUSE CAS EMISSIONS


           The costs of reducing carbon dioxide and CFC emissions are under active

   study     Avaliabic estimates of CO2 abatcoent costs remain preliminary and
   controversial        Relatively little la known about the costs of reducin6
   caissions of oder       greenhouse   gases    A revíalon of this section of      the report
   a year or two from now coald rely an a auch stronEar rasaarch base
    particularly as regards CO,) and alght well have different policy
   impl Icat ions




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Back pround


        Global Action & Differential Impacts               Global action is essential if
meaningful reductions in the expected growth of any of the greenhouse gases
are to be obtained without bringin5 economic growth to a halt                         Even drasarit
unilateral cuts by      the CECD acaber states would not be sufficient                  to achieve

widely discussed global CD           goals unless most other countries participate
 fully in emissions reduction efforts              For example        even the total clinination
 of OECD emissions over the next 15 years would be               insufficient        to obtain a 2D

 percent global emissions reduction by 2005 if the USSF and Eastern Europe cris
 stabilize eslutons at           their current   levelr.   and developinc. countries         take   no

 ac rion to curb Ca     emissíons growth         Global action would also be necessary to

 control inetbane and nitrous oxide emissions. which result primarily from
 agricultur al    ac: ivit les                                                                                  b
         Ditterences    in costs and benefits among nations say make                 it difficult        to

  obtain global agrecoent or. specific goals and policies                  For example,
  countrics that rely heavily on coal            which contains a relatively high amount
  of   carbon per unit of energy. may have greater concerns                then other nations
  regarding the    inpact of restrictions        on CO, e:minstons on their          level   of oil

  and g,as imports and the consequent implications for energy security and trade
  balances

          incentives and Market Failures           An approach to limiting net
  anthropogenic greenhou¬e emissions that encompasses all                  important Ereenhouse
  gases and gas     stris as well as gas     sources       is preferable    to one    that   considers

   cach source of greenhouse gases individually               Also,    any set of nations should
   be tree    to devol©P a joint strategy to meet their pooled ceilings,                 as long as
   net g;obal emissions are not thereby          increased and existing treaty obligations
   are not    thereby violated       An approach incorporating chese elcoents was

   oatlined in a U S      concept paper tabled at          the IPCC

           All analysts agree that noise reductions in greenhouse gas entanions can
   be obtained at     low cost      Raductions    in CFCs under the current provisions of



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the Montreal       Protocol and the CFC phaseout     likely to be    included in a revised                  -

Protocol       this year fall   into this category    acre   is disagreement as to the

extent of low-cost opportunities for limiting other Ereenhouse games. but sone
such opportunities undoubtedls exist

         Administration regulatorY poliev generally holds           that primary reliance

should be on incentive based approaches           including charges,     user fees,    and

trad.able emissions rights          Wen market failures limit the power of such
approaches,       those   failures can be address.ed directly       Command-and-control

 efilciency standards have several significant disadvantage-. in comparison to
 incentive based csr.tems or approaches       that   address pe:ceived market      failures

 direct1s        The costs of efficinncY standards are often hidden Tather than
 expl ic i t
                                                                                                       to


 carbor Dioxide

           Economy Vide Analyses of F..aission 1.imitation Costa        Several   studien of

 carbon dioxide reduction costr. using econooy wide models have recently been

 completed or are now in progress          Exísting papers   (and work in progress that
 we have been briefed on)        use a sartery of modeling approaches       consider
  d'.fferent policies        and erplay different baseline emissions growth

  ansprions          Resc differentes have    important effects on cost estimates            All
  rewlts       shoald be considered preliainary

           In general     work to date finds that the costs of      stabilization or

  reduction of CO2 emissions by 2005 will be high--at least           1 percent of CNp per
  year for videly discussed objectives         such as stabilizing CO3 emisr.ions at the
  present level or securing and maintaining a 20 percent reduction from that
   leve;        Some estimates suggest that achievement of such objectives would
    nvolve significant reductions in long tora growth           The experience of the
   U S     econoey ir the 1973-85 oil shock period, when CO2 asissions were constant
   but economic growth was slow. offers a useful reference           for comparison of
   likely impacts of policies to sharply curtail fossil energy use on output. and
   produc t ivi t·y growth


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          Some recent analyses consider the use of a charge on the carbon content
of fossil fuels to reduce CO2 emissions                      This research Senerally concludes
that charges on the order of $100 per ton (which would amount to roughly a 150
percent increase in the delivered price of coal and a 70 percent increase in
the price of oil) would be needed to have a significant                         effect on emissions

Much lower carbon charges may be of some value in the near tera to compensate
for known external effects of ener5Y use                     to test    the sensitivity of CO

emissions to incentives, and to lay the foun:iations for higher future charges
 if    they are found necessary

             "he aggregate econocic        cffects of CC; cutssions          redaction policies would
 not    be    felt   evenly   throughout    the L' S    ecor.omy       The   relative cost    of ener57

 would increase substantially,              increasin6 the relative price and decreasing the
 consumption of erergy intensive products                     It is impossible to construct a
 scenario for substantial CO               cuissions    reduction without a major adverse
 impact on the coal           industry      C.eneral equilibrium modeling suggests             that an
 effort       to significantly litmit CC2 emissions would cause                large changes    in the

 sectoral composition of the U S               econosy        Such sectoral chanEer.,        if gradoal
 s.ight      occur without a drastic        impact on the value of existi"6 assets
  Movcver       a policy that resulted in rapid sectoral chan6cs could have a

  significant        impact on the value of assets           in tapacted industries and on the
  value of      is:mobile assets     such as residential housing.             in ispacted
  ccanities

             Becease   the United States relics heavily on coal,               the fossil    fuel with
  tne highest        amount   of carbon per unit of energy,            for electricity generation

  U s        electric1ey rates would be likely to rise more than those in other
      indu.strialited countries if concerted action were taken to curb CO                     caissions
  Unless energy-intensive U S              Industries were able to greatly increase their
      energy efficiency,      they could be disadvantaged relative to major              fosaign

      competitors who would be less affected by electricity race increases
              Regulatory Adjuntuenta:        There are a number of reasons why total U S
      investment     in energy-efficiency may be suboptimal.             Many analysts have called



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for a variety of regulatory initiatives to increase the efficiency of energy
use and, thereby     to reduce Co, emissions

      The elimination of el.ectricity pricing distortions would be as likely to
vield increases in consunption and emissions as decreases            Many analysts have
called for reform of electric and gas utility regulation to Elve utilities
 incentives   to remove   impediments to efilcient   investment   in energy
conservation      While the desirability of regulatory changes of these sorts is
 apparent, estimates of potential reductions in CO2 caissions vary videly

       Enerp efficiencs stardards for buildings         appliances      and automobiles
 represent    another approach to 11riiting energy con..umption      and thus CO2

 caissions      Ho.ever   Administrattor regulatory philosophy generally favors
 addressing any     information problems     institutional rigidities     or market
 failures t.hat may exist directly        rather than atteapting to compensate for
  them via efficiency standards that can impose significant hidden costs on

  consumers and the economy at    large

        A number of changes in agricultural programs that would have other
  benefits can be expected to assist red.4eing greenhouse gas emissions             These
  include reducing commodity price support levels        encouraging additional tree
  planting. and conservation prograns

        hew Technologies     While new technologies offer significant CO2 emissions
  reduction potential after 2000, there is no simple "technological fix- to this,
  problem      a variety of technologies for generating electricity are in various
   stages of development      De next generation of nuclear reactors, based on
   simplified and standardized designa and passive safety features, may come into
   use after 2000     Advanced energy use technology seems to have the potential            to

   contribute significantly to reducing CO2 amissions       but estimates of the
   extent of the contrib mion vary widely

         Increases in DOE's RfiD budgets for end-user energy of!Leiency
    improvements and for DDE programs that provide financial and technical
   assistance to states, both of which have declined in recent years. would




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enhance      con.scr·vation efforts              Most studies have         found that     the potential

gains    1rom widespread use of availabic *best practice-                           techno;ogy are

significant, possibly up to 15 percent nf current consumptían

         Forestation              Retorestation is a        (comparativelv)         short-tern approach

that     could generate a substantinì                decrease     in net    (-3; caissions      for at    least

 three    to five decades              Cost estinates       in ore   study of a global strategy

 ranged from $4 29 to $6 03 per setric con of carbon removed, while those in
 another       study for the United States rang,cd froo $17                   71    to $102 f,3 per setric
 ton depending, on progran size                    3" net    ecol°51Cal      and    recreational benefits

 of    torestation would deper.d on the               type of forest planted and the current                    use
 of    the   land      The efficacy of forestation as a carbon canageacnt                        tool depends

  importantly on how the stock               of    accuculated carbon in nature            forests   is

 ennaged,        but   the costs      and carbon removal potential            of alternative manage:nen

  strategies        have not been systematically             analyred



  35..1hn11e

             because       the developed countries account           for only about        25 percent      of
  anthropoFenic nothane caiutons.                    significant,    cost-effective        reductions      in CF..
  cei-,stons        will       require global     action    Feasible       reductions    in the areas of

   anical waste.           5     es of livestock herds.      coal aining,          landfills,   and livestock

      and rice    production add up to more than ennur,h to stabilire atmospheric                          CH.

      contentrations             While a n·mber of     approaches     to controlling, these emissioon

      are available,           no cysicaatic policy design or costing analysis has been

      perforned




               The Montreal Protocol. which calls for a reduction in CFC emisutons has

       been ratified by nations           that    accoant   for   over 90 percent of       global

       consumption.            The Protocol will be    cenegotiated        in June    1490 and will almost

       certainly include a phascout of all CFCs by 2000 for applLcations where cafe
       substitutes are avaliable                Vitt widespread participat ton.          chis Pha$cout would




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significantly reduce the increase in radiative forcing attributable to
greenhouse   gas emissions during the next century        The costs of elin·inatin6

the use of CFCs will be approximately $3 billion (present value) over the next
10 years




        !;o systematic attention scens to have been devoted to the desigri or cost
 of   policies   to reduce N O emissions   from fertili:cr use or other sources   in

 part because     the relevant   science base in weak



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                                              I. INTRODUCTION
3e charge of this Task Force was stated in a memorandum of October 23, 1989
from Allan Bromlev to Michael Boskin as follow:

               As you know,          rational models of                the economic cost of either
       action or inaction, are conspicuously missing from the public and
       international debate on the subject   Economic consequences must
       be understood before sound policy can be developed and
       economically and socially acceptable actions taken   We simply
       cannot proceed without that understanding

                   I   would ask    that      vout    Task     Force    on Economics    include broad
       interagenc3 representation and identify. review, and inventory
       similar work beinr. done elsewhcrc--at universitics, think-tarAs,
       and by your counterparts in other industrialized nations   I would
       ask you to produce at least a preliminary report in three sonths
                                                                                                                       0
 The meobers of this Task Force                    who are listed at         the end of this report            werc
 encouraged to draw on the toll range af resources within their agencies                                       The
 Bibliography at          the end of     this document provides a fairly complete but not
 exhaustive    inventory of work              that bea:s on the economics of global                change        It
 draws on a wide range of sources                          (Ir particular, unpublished economic
  tuetes that have bean reviewed by CEA were included )

        Task Force members agreed on the outline of this report and took
  respo-u.ibility for           first drafts of            individual sections         Drafts of the report
  were prepared by CEA on the basis of agency submissions and were reviewed by
  the Task lorce

        Because         this report was prepared with tight deadlines,                     it necessarily
  embodies very little new research                         It is   intended to provide an overview of
  current knowled5e and key facts                      It r.hould serve to indicate that ggg-legLç
  eelv-**     of       richal   chanre   is   in     its    infanrv     few auer-ior«     nhnut   costa   nr

  benefir-« ran be made with confidence                        The state of the literature,         the
  diversity of views on the Task Force,                       and our schedule combine to preclude any
  attempt to produce anything like a comprehensive benefit-cost analysis                                    (But




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see Nordhaus      (1989)   for a crude but    interesting attempt      )    Moreover,   alR9.11
                       e   es-inates   ir. this   re,o t   as well   n. many of   the

q a      ative assertions      are controversial

       Section 11 provide6 background on greenhouse gas coissions and their
 likely clinatic effects and on available policy types   Section III considers
 the costs of livin5 with global change, assuming no substantial efforts to

 reduce greenhouse gas emissions   Section W consWe cuts d ®W *"
 emissions   The individual Sec'fons are not entirely comrartwentaltred bar

 ent be     end   ir.deocr.ierrly if r.eressar-v _




                                        II. BACKGROUND
  This section provides background m.aterial on current and projected future
  Ereenhouse emisal©nS 8°d °n scientific opinion rc6erding the effects of those

  egiuions on the global climate             The final subsection provides a brief,

  Sencral discussion ©f       adaptation and mitigation strategies to serve as an
   íntroduction to the analysis of         these strategies in Sections       III and IV.

   respec tive17



   A. Greenhouse Gas Emissions
            Increases in the atmospheric concentrations of at least 25 trace gases
      contribute directly or (via chemical reactions)         indirectly to the retention of

       o ar radiation by the earch (radiative forcing)           Five creenhouse ca=es.
       ,..er+bed in Table   11_)   have scenun*ed for about     R7 nerrent     nf the increase

                  ... torren- 'n rbe 1Wnn arid abour 97 nercent of the          irrrenne Ovei

      ,n,. ,ggo.10A0 f.eriod (Ramanathan. et al . 1985. Hansen, et al . 1HB)                These
      ganas are, accordingly, the focus of the rest of this subsection and of the
      sitíEation strategies considered in Section IV           The emissions projections for
        bene gases. in Tables II 2-     are based on the Rapidly Changing World scenario




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in Imhot and Tirpak (1989), they should be treated as providing rough orders                                                         ô
of mag·nitude, not precise est.imates



                                                            Table II 1
                                               Kain Greenhouse Cases

                                                     Fercentage           Share


                                             of Increased                         Atmospheric                  forcing
                                            Radiative Forcing                      Lifetine                     Index
   cas                                         in    - Fr       14F 0-,               r vcar- )               :noice ul n -


   Carbon Dioxide         (CO.)                        ~Q                                  250                        1

   Metnane (Cli.)                                      19                                   10                       30
   C-nlorofluotocarbons                                14                             60 6 '5                  22,000 6
     (CFC-Il 6 CFC-12)                                                                                          25,000
   !¿ít,rous Oxide (?.;O:                                   5                         100-11                         200

   Sources        Hansen.         et   al     (l'iH8;.          Departnent     of Energ·y.        Wuebbler.    and Frisonds
                  ( 1988 1



           rnmra-i-.nrs      of    the      e+facts     of       future    r¬t·.-,10-:-.    of   verio m     prec©cuse.

  case-    are nn*   rocPle!PlY stTGish!ÍOD.ard                            Diffe'renceh          in atmospheric
  life-toes,    lead to different              tlne patterns of effects.                     so that     dact-.!ans

   egudinE discount!ny. nay be                  important             (Imhof      and Ahuje         198©)      (Note also

  the uncertaintv attached to the lifetime of ?¼C                                 )   And,       while the radiative
   o ring effects       of    chang,ca        in arnospheric              concentrations of           an·r   trace    gas   are

  apparently easy to calculate.                     the effects of changes                  in emir.r.ions on
  atmospheric     concentrations depend Lioth on pre-existing concentrations and on

  vartoos imperfectly understood geophysical feedbacks. which also affect
  atmospherir lifetimes

           1. Carbon Dioxide.                       xeasurements os co, 1,.ei, ,ho, , ,osph,
  con-entrations increasing from moscwhere between 250 and 195 parts per million
   tppc}   at   the beginning of             the 19th century tc               M ppa         in 19R6         Good data are




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available on fossil            fuel   CD     emissions and (the far smaller)                emissions        from

cement production, data on the impacts of land use changes (primarily tropicsi
deforestation1         are    fair to poor        It   is   irrportant      to keep in mind that             natur6'.

flows ot carbon inen and cor o' the a-no-phere are rourhlv rer en eventy tirren
latter than the (anthroporenic                  flows associated with haman activity.

          Table   11   2 provides historic and projected anthropogenic                           emissions d.sta

by    region and by        source     assumin6 no mitigation             These projections are

uncertain because of uncertainties about                     future population and economic

growth,       sectoral ceeposition of CNT              and sector-specífic              energy    efficiencies

Sonctheless,          it is    important to note        that because        energs      related sources of

 CD     emission·. are        expected to grow comparative'.y rapidly,                  and CFCs are
 expected to be controlled sL5nificantly. Cn, ie. e×neered to account for n
                                                                                                                         9
     ,.frer   share   of   incraaae     ta       ve    forcine   to   the    fu   are    than    in   the   cast




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                                                                                                                                      o
                                                                                                                                      -4
                                                     Table II 2
                   Carbon Dioxide Anthropogenic L.missions Share Projections


                                                                           Percentarc          Sharen

         Source

         roimt-i es
         United States                                       71              19                16               12
         Rest of OECD                                        ??              19                16               12
         t'SSR & Ensterr. Europe                             ??              22                14               18
         Centrally Planned Asia                              10              13
         Other     Dew'.opinE                               -2             -À.
                                                            100            100                0                100
         se e e nr..
         Commercial Enerp                                    86              81                84               °2
         Tropical           Deforestation                    12              11                   4              6
         other                                              _2                               ---2
                                                            100            100                10D              100

          Total Scenario Lil*.'.lons                        5 49           8 0               10 27         '-6 95
                   (10' tonnes Carbon)

          Average Annual              Growth Fate                                   1 65

  Sourc.c     l'5EPA        (1989) Rapidly Changing World              Scenarin



            3ç 1        s    n    a-cmms       'or   abou          percer*        of total        arthro¬orcele        ro,

         ..;c.m        bu 042
                           -har       share   is exrected te        shrink       in arour' 12 tercert hY fbe
               r    t%e tw»r      cercurv       Despite     the attention paid to tropical

  e,iurcs-.attor,, mr                 aMhroporenic CO, emissions are nrd will be rbe                             resn'.:     of
     .        inn nr         voscel    Nel-      The United States has comparatively high CO2

   emissions per capita froz. fossil fuel consumption and ccment production                                                in
   part because             it nakes relative ly heavy use of coal                       In the Us ited States
   coal     burned by c'.ectric           utilities    accounts       for    31 percent of             total    four-i'-    fuc-

   cg, emissions,             the entire utility nector accounta                   for   3     percent,        and the

   transportation and industrial                  sectorn        account    for    29 arut ?!         percent.

   respective          y




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      2.   Methane.         Atmospheric concentrations of CH, were               relatively

constant   prior    to the middle of        the   last    century at abour     700 parte. per

billion (ppb), bv 1967 Cit, concentrations had increased to 1675 ppb
Recently, atmospheric concentrations of recthane have been increasing at an
observed rate of about 1          1 percent annu.nlli          The contributions of the

different sources of methane that tor,ether account for aggregate caissions
 remain uncertain          Anthropogenic emissions of CH4 are thought to account for
 roughly two-thirds of all emissions                Tabic II 3 contains estimates of
 anthropogenic     emission'.      they should be        trented as uncertair.

       The United Stater. now <-ontributer. about               1; percent of    anthropogenic

 ,cis.siens   of   CH,,   this   sharc   is predicted to decline       to about    8 percent     r.vr

                      ryronorerte        e,1-stans of trethane     are ornd.aced bv derestic               -   6 -

   goMenterte             fernentatían$     and rice cultivation           The ccn ra   v-elanned


  Enerr.v-related methane roissions occur                in coal mining.    and when natural    gas   tr

  gathered,   transmitted, distributed or vented




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                                                  Table II 3

                          Methane Anthropogenic Esis5tons Sharc Projections



     source



     United States
      Rest of OEC
      USSP 6 Ea5tern                 °P°                   ,
      certrally P a
      other Devr;optr                                                                                       .0a


       .r.5f.2XI                                           1t             22                    26
            .1    Prodattion                               3,             2's
                      c   terucneation                                    31                    29
            cc Cultiva          °°                                        10
         ndf L1                                                             6
       7topical Deforestat ion


        Total Sceriario bisstor
                 (10* tonnes C
                                                                                      1 24
           Average·        Ann.al   Growth Rate

                      LIA (19R4) Rapid1v ChanS                  °rld Scenarie

                      ChlOTOfluGTOCarbODS.            CFCs are ent!rcly pan.mnde and were
             3-                                                                                  f CFC-''    and CFC 1
                      1 during the 20th cenwr-y            De C
    dauov'f"                                                                                     l   in 1986 and have
            226 parts per trillion (ppt) and 392 PP
    ** *                                               - t,le 11 4                  ves pro octed regiona
                              4. percent annuallY          .a                   5
    been rising at                                                                          t   the Montreal      Protocul

                      i reducing stratospheric ozone depletion) in Lth Frc«ent te. V 2
      aime        a                                               t 7 percent participatlon
      .Or percent participation by developed countries er
            dere            (A$ S*etion IV D      notes,        it   16         ly   that       the Protocol vi




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                                                        CFCs by the Year 2000 for applications where             q e
revised to call              for a phasecut        of
                                                                                                                o
                                                                                                                us
there    are       safe substitutes          )                                                                  -#




                                                        Table Il 4

                 Chlorofluorocarbon (CFC-11 + CFC-12) Emissions Share Projections
                  Aasumi.ng no Further Controls Beyond Present Montreal Protocol




             United states
             Other Developed
             USSE 6 Entern E4rop
             0    2F.g 5ations,                                 6
             Other       Developing
                                                              100       100        00        100

             Total Scenario Emissim                          6*2 1      8F 8
                     (10' tonnes CFCt
             Average Annual Grovtt               Pate

         .       n    ions with CFC use beeveen 0 1 and 0 2 kilo688°s per capita and 'ikely
                  to reach the 0 1 kilogram per capita limit in the Montreal Protocol
                  prLor to l      442

   sourt e           USEFA

                  hate    that global emissions of CFC-11 and CFC.12 are projected to
                             , the       resent terms of the Montreal Protocol          Eminaions of
   increase unde.                    p
    clated greenhore f,ases (particularly CFC 22 and Methyl Chloroform) are
        rojected to increase quite rapidly                      Considering these related gases does not
    alter          the message at Table II &                the united states and other des-eloped Doll'D'

                                well      over half     I   eminstons of CFCs and related ro*.es   hat



                             arinns are evnected rn increase r.harmiv            The speed witl. Which
        safe substitutes are identified and the exrent of developing country
        participation in the likely phaseout of CFCs are uncertain and vill
        significantly affect future shares and quantities of emisalons


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      4.     Nitrous       Oxide.       Atmospher:c concentrations           of v20 averaged about

 85 ppb     from 1600 to 1800.      began to rise slowly at           the    start of this centurv

and more rapidly after 1940, and are now around 310 ppb                        Data nn natural and
anthroporen{r sources of %O emi--sions are poor                     nr.d the data in Table II
should be considered as approxistate at best                  The Depactraent of Energy
believes that N2O emissions associated with energy processes may be

overestinated by an order of ctagnitude




                                             Table     II 5
                 Nitrous Oside Anthropogenic         tåiamiens Share Projections



                                                              Percentare Shares
      Source                                     19P5         2000           201       7050

      rnieri r   042-
                  1 e c
      United Statec                               14           12             11             9
      Rest of OECD                                13           la             14         12
      USSP 6 Eastern Europe                       14           15             14         13
       Gentrally Planned Asia                     13           16             14         l';
       Other DevelopinE                          .44          '=7             47       . '
                                                 100          100            100       100

       s..c - o- s
       coal      Combustion                       25           26             29         36
       Fertilizer Une                             38          43              44        41
       Gaín of        Cultivated Land             10            8              8             6
       Trapical Deforestation                     il           11             10             9
          Faclwood 6 Ind      Blomass                           4              3             7
       Agricultural Wastes
                                                 100          100            100       100
          Total Scenario Ea.iasions             4 21          5 85           6 87      8 85
              ( 10'' connes N20)
          Average Ar..nual Growth kare                                1 2h

   os.rce    USEPA




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             As in the case of methane, post N,0 cmis©ioM "f*                                                  O
                                                           Increased fertiltrer use
                                          th develoninr nation

has both raised             20 eg astons and dramatically increased food supp
                                                 f    rld b:0 ca 85L°°5 5 only about                 24
developing nations               The u s share o   wo

 percent        and is *×Vected to fall below 10 percent by cid.century


 B. Potential Climate Changes
                                  .ic and responsible outloo's- on Po
              Formulating a realis--
                                                        h - -   reenhouse        gas concentra iom
  effects        associated with       tr-reasity atmosp t--' E

  regurer. providing answers              to a   sequence of    inc


               1. Uncertainties.                 --,   iirst neccstary    to projec
                                     As noted above,      such projections are        inevitably
  c +    greenhouse        gnacs
   ''                                                    redict how ouch of     the assu:ned cuiS5 °
                      't    is then necessary to p                                                        --   -
   unCe
                                                                       for the effects of natural
   v4'i remain in the atmosphere after account n6
        ''                                                    'ike those underlying the emiS5i°"
   share projet            °ns in tables 11 2 to II 5          88"'m' th"t ..inatons vill be
                       It in the radia    042
                                           ®9  y.lent of a doubling of atmospher c
       [icient to resu
    carbon dio7·1d* (the combined ef[ects of CD, and other trace gas increascsl


    bet.een 2030 and 2070
                Once the greenhouse      gas levels
        st,p    is to project associated changes            in heating of the earth nates as a
                   A.n increase      in radiative forcing by greenhouse gases does n°
                 sarily irrply a sigr11ficant warming of the planet              For instance, it has
        been argued that a stror-g negative cloud fechc1 Edd

         effects of greenhouse gas buildup                In this car.e little net warming of the
         -,vuten would take Plact          a recent study found that using a different
         representation of clouds to a climate model              reduces the predicted global
         warning by a tactor of two to three                However,    sciantists have iden-      :icd
             other possible feedback mechanisms that would make the warming problem worse
             than predicted        The best climate modela available today indicate that




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geophycical processes we do not understand well as a ma or adverse consequence

of increasing atmospheric concentrations 01 greenhouse gases

         2.    Projections.                 Because of thenc =ciple. co=PoundinE
uncertatntier.. quantitative model projections of P.reenhouse gas warning am
 be considered speculative and r.ubject to improvement as understanding
                                                           .- +           doubline the cor-entration o
                   the -ir.-ledo--r a            aternsehere would result           in an eventual      riobal

 averare warning             he quantitative predletions                    for actual    (realized)    average
                                                          "F E©F           (The low (htgh) end of this
 saraing bv 2050 vary over the range .                         -
                                   h'       -o +e annual           average difference between Washitpon
 range corresponds roug
                             11    )    )    Wws-ver      soce
                                                    recent results free models using
  and Sacrenento          (Da  as            ·
  specLfications          of cloud behavior believed to be ænre reallstic have reduced

                                             tions by hall              Modelers genera'.ly agree that
  equilíbrium varCong proicc                                                                                         o _
  -,epenallry vt11 decrease. witt', vinter temperatures rising w h ser

  ones

              The models differ substantially on re51°°^1 ''©ª
                           already difficult problem of predicting regional                     temperature
   coepounding so
   precipitation or          soil moisture             There       is general agreement     anong climate

   nodclers that, while PrecLpitation would increase globally Ln a global warm!nE
   -.cenario,      regional patterr.s of precipitatior, would probably change,                         leaving
   soar areas considerably wetter                   or drier            Translottrq, these precipitation

   changes       into char'6e"         1© °°¡l   noisture          L3 yet another   quest!on.   since soil

   soi..ture is a function of r.oil and vegetation characteristics as well as
    precípit8tl°©·          ©®,perature,         and humidity             Differences   in soil noisture and
    t,aperature could also altect soil's capacity to absorb greenhouse                                 gases
    , _.      .,u,.t.    .oece-r   e    nn-ked    sr.11   rrn'-rure decrcue         in esialaricede    ennrincria




               Possible changes             in worldwide sea levcl are also subject             to estrene

     uncertaint7           Varsing coald raise sea level by thermal expansion of the upper
     layers 01          the ocean and by the melting of land-based ice                      llovever. current




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measurements have found that Creenland and Antarctic ice cover is currently
increasing, not nelting away                     An American Geophysical Union panel recently
suggested a range o! global                   sea-level      increases by 2050 of berveen 10 and                       70

centitaetern             The science group of the Intergoverraenta'. Panel on Cll:mate
Change (IPCC) is apparently reaching consensus that c warrinr within the rer
pro octed by climnte models ætrht be accerranted hv a rioboi sen-level                                       rise c

brtween 2½ and ía0 cen-¡reterr. bv 2050


 C. Policy Alternatives
             ne next        two sections of       *.his    report con..!der        the    rwo basic     types of

 policle-           nvailable       to den;   with global change              naaptation and citir,ation

               Adaptation P'            e5.   vhich   seek      to    lower the costs     of   global   war_ain

 cc:sc       in two      torn.s     planned and ur.planned              I'lanned adarra'inn      irvolves    actions

      aver     in advance of erttrirnted var¬ir.c                     examplek   include development of hcot

  resistant          plant    strains    and decisions          not    to undertake      new construction on
  land that may be                inundated by   sem level           rise     Itn,'anner' ndarta-lon Invn ve-

  .            nr    -r nr-ual warminr. such as the use of more air conditioning                                 For
  the post          part.    effective Planned adaptation policies can be designed and

  iep.cmented at the local or national levels, while unplanned adaptation main'.
      cflects decisions of              individual    firas and households                If global warning
  occurs over            time.      edaptation would also be a contir.uing process

                      gn-lor rnlicies         are a!,*d    at    reducine ner      emissions of       rreenhouse

      ..nses        This can be done either by reducing gross caission.s (by reducing the
      u3e of CFCs or the burning of inssil fuels,                           for instance) nr by increasing tre
      :c=oval oi         greenhoase     gases from the atmosphere by natural processe.s                    (by

      retorestaticn.          for    tutancc)

                Because moor         Ereer.house gar,ea have          long. stoospheric     lifetimes.     and

      because any changen             in climate may lag changes               in nrt emias!ons by many
       ....4,.       e   r+eorian     nn'5eirm ev-        rener.11v he         4enlemented well    before

         menrior rel'r'c*               Using a 5 percent             real discount   rate.    5100 billion spent




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                                                                                    µ 2 billion RPCB
on adaptation in 2050 is equivalent in terms of cost C©
aitigation today   (if an invectment yields a 9.percent rate of interest in
                                                     the real purchasin5 power
dollar terns, but prices rise at 4 percent per year.
                                           1     A 5-percent real discount
at invested funds grows by                     percent annual V )
                                                        b          he ''terature contains arguments for
 rate is used throughout this report,                       ut t      --
                                                             the    ti:no scales here are longer than in
 both higher and lower rates ) Because
 most issues. T e i-nnrrer
                   _.._.    ecoromic imrltrations of differences in tininr
                                     ,.           on can netv he revealed by disemintinr
               dantation end r        ·    f

          Eftective policv d©5 E° ""©t reflect the                      fact    that   there are great

 uncertainties          about   futute emissions,           implied climate changes         and their

  cifects,     and the costr. of          reducinr. net emissions              It is of course     imPortant
  to support scientific             and economic      research to close          the San? E"P
                                                                                                                        o
  vrowledgc         But    it   is a;so important to recoW7e               dat          R
  ao     vary sagnifican                       °' their attractiveness would chang.c as uncer a nty

   i-, reduced in the future                   The benefits and cons of p
   should be evaluated under a broad ran5e °f outcomes that                            reflect   the
   significant      uncertainties that pervade the global climate issue                           Revlble

   .x,lirtes rhet can e"s''v he reversed nr eur'anied                          and r";tetes that ran be
                                      y,- chan ritmare chance dould be hirhlv valued                         This
         roach har. been pro:soted by the United States in the international comnity
          e   Secretary Baker's           February 1989 address to the Response             Strategies

   .          .g Group (RS'g;) of the IPCC


                          III. ADAPTATION: LIVING WITH GLOBAL WARMING
       This secti©D considers the econooic costs of global warning as described in
       Section 11   B     , above     Ve begin with an overview of the Eener81                   eff'Cl* °
       climate change on the economy                 The rest of this section then considers the
        pecific effects and related planned adaptation policies on which most
       attention has been focused,               concentrating on the period between now and the

       middle of the next century.



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A. Climate and the Economy
         Climate change can affect econon!c                         activity both directiv,         by altering

production possibilities,                       and fndirert!v        as adaptation to change and its

direct effects alt.crs demands for and supplies of particular goods and
se:-vices           For   exanple,      war·ning would directly nffect              operators of      ski a:ea*..
and    indirectly affect manufacturcrs of ski equipa.-nt

         Th- d!rect          e:enor:ic effects of c               taare chance would be       concentrated

primarily in nericulture                        foreserv     a   t !!eheries     which currentlv account ft r
about        ? percern of U S              GDP and abno-         5 perceri-   of world CDP      In addition         a
rise     8.n the     sea 1cvel        ceald       trandare vandle drv Innd             nr.d so,e have nrro,-d
 Gr    -.oh-.rnnrini        ndverse        ofre-t      effects    on henn >·rnith       The   construction

 industrv could benef it               directly from reduced seasona'.ity.               and hydropower
 prodaction vould be affected by changes                           ir. precipitation and runoff         The

 subsections         that    follow focus on the oost                 discussed direçr effncts of global
 warning           Because of gaps              in both science       and economics,    we have    comprehensive

      nnce    cost   estimates        on    v    for    arrtruiture    and coweben«lve        enserp.·M      rn«t




             The   irdtrect eftects of ellreare change wt]]                    crence winners and Inser-,

 rhroarheur. the Fr|ted ¶retes and rieba!                          econnwic-      If energy use     is not
 c roed to reduce greenhouse eminstons,                           for instance,    ciectric utilit!es and
 tuir        suppliers      could he        important vinr.ors           (The EPA est!r.iates     that a sus,e

 ..ecperature         increase of 6 '°F would require an incicasc                      in electric generating
 capacity of between 25 and 50 percent of currer.c capacity )                                 Demand for air
 conditioners and heat exchangers would rise,                           benefiting, producers of       these

 product::           Producers and distributore of space heating equipment,                         heating
  fuels,      and vir.ter clothing would likely                    face decrear.ed demand       lising exiscípr,

  ecormaatric models.            it    is not          generally possible      to translate qualitative
  assesament.s of           this sort       into quantitative estimates

             -he    cor,rs of adaptarinn vnuid denend criticallv on hnw ranidis· wWer

  occurs           Useful    lives of plant and equipoent               tend to be nubarantially less




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than 50 years, ao that even a steady change in climate over the next century
would permit considerable change          in the    location and composition of economic

activity without major disruptions                If sudden chan£e' were required, the
values of some icunobile assets would drop sharply, and disruptions would
occur    Sudden population shifts.          for    instance.   would Icad to abandonment of

 infrastr·ucture in some areas along with the need for major new investments in
 other areas



 B. Agriculture
        Cliente change could affer                  °KI¡cultural aarkets directly throup

 chanr,ed docestic yields and       indirectly      through changed world prices and trade
  ilovs brought about       by changed crop production abroad           Wile a number of
  powsible planned adaptation policies have been identified,               their likely costs

  and effects have not been fully analyzed

        1. Potential Yield Effects. Unfortu=cely. aa noted in "errlan
        even given an assumed level of global varining,.             available predictions of


                               o hirhly mcertain arricultural proiections             in
   addition. agricultural effects would vary over time if climate continued to
   change with gradual       increases   in atmospheric trace gas concentrations

         Fecent    studies of the effects of climate changes on crop yields include
   Smith and Tirpak (19E9), Ferry, et al             (19BBa, 1988b), and Santer (1985)
   nese studies sugr.est that middle latitude yields would fall and northern
   latitude yields would rise with a doubling of CO2 levels and consequent

   warning
             These estimates do not      incorporate important      factors auch as fara
    management    response with existing technology.           the development of new crop
    varieties better suited to new clinate and ambient CO2 conditions,              irrigation

    costs.    and changes   in the distribution of agricultural pesta and diseases
    For example. temperature increases may extend the geographic range of some



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crop   irtsect pests currently 11cited by temperatures                        (Smith and Tirpak.          1969)

Climatic warning may also increase the geographic distribucion of livestock
disennen,      even allowing some livestock diseases                 that are presently limited to

tropical countries to spread                into the inited States             The rate of many of

these changes would likely be small compared to current year·to·yea:
var i ab i1i tv

          Most crop modeling results pc·int to 10-20 percent declines in yieldr. ir.
the Southern United States and slight                   increases    in the Northern United States

However,       a recent work·.hop (National Cll:nate Program Office,                     1954)    that

discussed       some   01    the-.e    tactors    concluded that    the net     effect    of    trace    r,as

 doubling would be           to        rwe vields      in all    coantries by     15    to 40 percent           Ort

 the other hand,        soac arg-e that           the workshop assumed an optimistic change
                                                                                                                       Q
   cnario      ()   2°F warning and a           15 percent   increase    in precipitatic·n)        and did

 nnt   consider changes           in pect activity or pos.sible sunner droughts

          2.    Economic          Implications,         isecause national       agricultural markets

 are   linked by       international       trade     the net    effect   of   climate    chance    on anv

 ro-mtrv vill depend or how charr.e                  in reciens! clinates affect plobal
 up-truiture         and how these charren attect actic>ltmal crice-, and trade                            1c.v-
 Becaur.c      the United Staten         is a    large net   agricultural      exporter,       economic

 losses associated with dozet.rtr declines in crop vields could be partially,
 f 11v, or more than fully offset by producer gains from the higher
 ar.rtCl·.ltural prices           that would occur     if world r.upply       tightened        The sane

 occhm it.c would.          of course,     operate to offset       the economic        gains     terming f:a

  v;eld    increases        that souc believe could follow from increases                 in atmospheric
  corcentrations of CO


           Kane et     al     (19R9)    used an international       trade model        (Roningen,    14M.)      to

  estimate the etanoutc effecta of changes                   in agricultura!      yield induced by
  climate change             That analyals. which deals only with major grain and oilseee
  crops· and does not consider fruits, vegetables, poultry, or livestock. han,
  been updated by USDA lor chia report                   crop yield range estimates are a
  synthesis of recent suggestions (Parry, et al                     10ARa. 1988b. United Nations




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1989)      These estimates, smsenarized in Table 'Il 1. are largely illustrative
hecause o1 the high degree of uncertainty concer-ning the regional yield
effects of climate charige. note in particular that, in contrast to the NCPO
exercise discussed above, the U S            vield impact is negative

       This analysis predicts a clinat© índ"C'd "crease in world corn and
 soybean prices of about 10 percent, since most production of these crops
 occurs    in mid-latitude enuntries that any be adversely affected by cliente

 changes         The prices of all other primarY agricultural co'WBodi         PS AfD

 estimated to decline.         thour,h prices of oil and meal veuld rise



                                            Table III 1
                          Estinated Economic Welfare Effects in 2050
                        of Climate-Induced Agricultural Yield Changes


                                         Assumed Percentage             Estimated Net
                                         changes in Yields              welfare Change
                                           o' "=lor crom                im   ½1       ons)
           Ceont rv /Reci er

           United stat,s                    -lot to -154                     +1°
           canada                           -104 to +54                       -16
                                                                               763
           t_uropean Conusunity              -5g to -10
           horthern Europe                  *lot to +30
                                             -St to +15
                                            +104 to +15                         66
                                                  o                          , 2882
           China
            .    .                          +10e to +15%                       +658
                                              No change
            Arßentina                         No change
            Pakistan                          No change
            Tha t i and                              6
            g,      of the World              No change                        -6



                As Table 111 1 shows. these estLaated price changes would lead to small
        .- resses in net U S       and Elobal welfare      For individual countries. large
        domestic yield effects do not necessarily translate into large welfare




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effects. welfare effects depend on prices deternined in world markets and on
:lovs of imports and exports                Thus, even though vields are assumed to fall in
 he United States. U 5          net welfare is estimated to :ncrease by just under
5200 million in 2050           (These estinates do not consider adaptation costs,                 such

at., the possible need to increase irrigated acreage )

          When these welfare effects are discounted to the present, they are seen
to be even less important than Table III 1 might suggest                      At a 5-percent
annual     rate of discount,     the present discounted value of the estimated 51                 51

billion of net climate change ber.cftrs ir, world agriculture in 2050 is just
 öl million          Asss_71og linear growth in net benef· ts to 2050,           the present
discounted value et         all net benefits over       the next 60 years      is only 58    1

billion       To put these numbers in perspective, another application of the
c.odel used here found that trade-distorting agricultural policies imposed
world-wide costs in 1986 alone of $31 billion

          Kane,   et al     (1989) provide an informative sensitivity analysis                only

 when assunsed yield reductions            in the United States.   Canada.    and the European
 Coccunity    (EC)    are   set at a very high level     (greater than 40 percent),          do

 welimre effects beco:me greater            than 1 percent of GDP in the countries          studied

 Thu.s.   even with minimal planned adaptation.          it aprears that clinate·imiuced
 charres    in arr!culture      should ont     produce pain- ratio-ni   ie-

   decr.     r"1"fve ©r Pera           e    hv the vlMe o' che nevt centurv            powever
 r¬-,31bíl?tv of suberant!al        varintion ir reeferal     inatts cannot he          ruled out


          3. Adaptation.         U S       agriculture can improve its resilience to
 climate change       through several adaptive strategies           These    include    increanter

 irrigation and water use efficiency, developing and planting heat- and
 drought-resistant crop varieties, enhancing soil and water retention through
 use of low tillage and crop rotation practices,             maintaining and enhancin6 the
 genetic and technological         diversity of agricultural       systems. and taproving
 pest control      techniques in ancielpation of possible northward migration of
  pests     Agricultural policten and programs, much as price support and acreage




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control policies. should be reviewed to determine whether there exist
modifications that would help ensure timely and efficient adjustment to
possible climate change and that would contribute to trade and other policy
goals



 C. Sea-Level Changes
             The adverse effects of cossible sea-level rL*.e on coastal
 Infrastructure           recrea:Lon    and coanal ecolarv covld be either large or
 .    all       ne    r.everity of these effects vi'.1 be determined by the magnitude and

 rate of any sea leve!          rise and whether planned adaptation policies are
     instituted        Unfortunatelv.   °^1N © gev estimates of the costs of       sea-level

     rise or of adaptation policies are available
                                                                                                      0
               1.   Possible   Impacts.     A foot of sea-level      rise can erode a typical             -

     beach 100 to 300 feet, a 40-inch rise could translate into 900 feet of
     erosion   ne U 5 coastline. as that of most other industrial maritime
     utions,        has been catensively develoPed-   with buildings often within 100 tect
     of    the sea      Even if current.ly denselv develoPed areas were protected.       losses

      of drvland and coastal wetlands could be substantial            if rates of rise were

      rap id
               The loss of land by erosion and flooding due to accelerated sea-levol
      rise would translate       into lost economic services        Gibbs   (1984) estimated that
      the present **lue (using a 3-percent discount rate and in 1980 dollars) of
      lost     economic services to Charleston.    South Carolina,      due to an 83 centiaeter
      rise in sea level could be $1 1 billion            However     planned adaptation could
       redace this loss by 65 parcent to SD 4 billion              The amount of rise considered
       in this analysis is more than double the high end of the most recent IPCC
       estimate of likely sea-level rise by 2030 if significant warning occurs

                other nations could also face losses from any sea-leval rise            A one-
          neter rise would inundate 7 percent of the land (occupied by 3 percent of the
          population) in Bangladesh       Egypt would lose 12 percent of its habitable land.



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aifectinE 14 p*rcent of its population                 The cost to each nation could exceed
2 percent of GDP        No estimates are available for the effects of the 25 to 40
centinerer sea-level rise considered most likely to occur by 20 0 if
significant warning occurs

         Higher sea level would allow the saltfront of rivers to travel                   further

upstream than before and could also allow high salinity water to contaminate
groundwater        Hull and Titus (1986) found that with a one-meter rise in sea
level,    raservoir capacity would have to be significantly increst.ed to allow

Philadelphia to continue withdrawing str. drinking water from the Delaware
River       New York City, which withdraws water from the Delaware headwaters.
 would also be affrcred          less than $1 billion (SISC million to $906 million)
 in present value capital outlays would be needed to compensate for                     this

 pos:,1ble reduction in water supply following from climate change                      (The
                                                                                                       O
 present    valucr. arc derived from estinates of 52 8           to $14 billion    in

 undiscounted 1966 dollars cited by EPA,               anhuming a 5 percent    real discount
 rate with all cupenditures incurred in 2050 )

          Without significant changes in its water management plans, Miani's
 primary source of drinking water would be rendered unusable by salinity
  increases     if a one-meter   rise   in sea   level occurred      Even with action,         the

  city would face reduced supply          Many other co:scrunities alon6 the coast could

  icel    ciellar e ffects on their drinking water supplies il such a large sea-
  level    rise were to occur

           Storn surges would be likely to increase in height by the amount of sea

  level rise, making flood damages sore frequent and severe                   The size of flood
  plains would likely increase          As a result,       flood insurance costs would
  probably go up. even with anticipatory policier.

           3.   Adaptation.      It would not    oake economic     aena,   to protect    th.

  entire U.S. coastline against any substantial sea-level rise                   If the sea
  level were to rise gradually and predictably,              substantial costs could be
  avoided by discouraging additional development or replacement construction in




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                                                                                                                     C
                                                                     Federal flood insurance policy)                 ô
low-lying areas (perhaps in part by altering
                                                i   develoPeent would allov
Particularly for less developed areas. discouras ng
beaches to naintain their natural form. verlands to migrate landward if rates
                                   d f'ood and storm damage to be minimized
of sea.level rise are moderate, an

         It m15ht, however, also be necessary to nourish recreational beaches
                                                    t         rotect sose densely develoPed shoreline
 with sand and to use levee Sy5t©25                     ° P
 areas     Estimater, from Smith and Tirpak (1989) of the costs of these actions
 through 2100 under alternative sea-level rise assu:nptions. along with the
 resulting lobs of drylands and wetlar.ds,                      are shown in Table Ill        2         ° P"
 the estimated drvland losses              in perspective.            the    land area of Flor da-       which

 would be particularly hard.ht: by substantial sea level rise                                is about 54.000

                     his   able suggests. vhlli_dLD
                                        see.level vises at er,derare                (pre    042.cnt
                                                                                                value     C

           cant       losse        ,.,yg.ng   nnd wetlands would occur




                                                    Table III 2
                                 Protecting Dennely Developed shoreline
                                          Areas from Sea-level Rise


                                                                    e..1,vel gise hv 2100
                                              pseltree                 50c2        100cm            200cm
         currslative Costs to 2100
           1986 Sbillions)
                Pre ent Value*-.              0 6-0 8                3 9-5 3      9 0-13 7        20 B-38 .
                t'ndiscounted Sun             '    8 6 2              32-63         73-111         169-304

                                                  00-               2200.          a100.          6400-
          (u!    )
                                                  4700                0100           9200           13. 00
          Curren              and 1.ost            9-25                20-4          29-69          M-
          (percent)

            042
            Assumes current rate of               sea-level rise.       1/cm per century
         * Assumes rate of sPending rises 1 percent per year, uses 5 percent real
           discount rate teontinuous time).




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D. Human Health
        The inences of clobal warninc on human health arr ©×trew!"
controversial          ord the «cope for planrxd nderation is unclear

        1.    Possible       Impacts.      The consensus view of a recent National

Research Council Workshop (1967. p               19) was that -          lon5-tern climatic
 changes     in tenperate    latitudes are unlikely to have major health
 implications '         In their comments on a draft of the 1940 Ecnnottoc Report of
  he F-es-.derit       tills (Toa·;>kins. 1%9) asserts that "            r,lobal. warning by r.evera'.
 dry,recs would pose tw direct health risks whatsoever                     * and notes even thougn
 Atinnta's clisate         in auch warmer thnu New Tork's,        there     is no rvidctwo of a

 clirtate-indurced difference in health tid
                                                                                                               O
           On the other hand, a recent hPA report (Snith and Tirpak. 1989) finds
 that warming could lead to         increases      in suanertime morbidity and mortality ir.
  tu United States and the rest of              the world    The report notes        that    any such
  eilects would be more        pronounced in sone regions than in others and that                   the

  extent of     acclinatizatics: will play a large role in determining the effects of
  arn   artu.nl wars.ing on health         me    apparent   absence of a climate-related

  d,iterences      in health rish between northern and nouthern cities                and the       lesser

  , ffect    of current heat waves on nortality in Southern cities sur,gests                   that
  he        populations could acclimatire.         especially if warning occurred over
  .,..c al    decades      The EPA report 8150 notes that any Warning Vould prohnbly
  reduce     tne number of scather-related deaths           it. vinter    months   regardless of       the

  d.,gree of     acclisarization      The report concludes that it is not. clear what                  the
        effect    of these   two offsetting trends pay be,        but     one of   the underlyttig

   papers suggests       that an overall    increase in mortality is most           likely
             Several   vector borne disenscs.      such as yellow fever.        den5ue feve     -   and
   nataria, have        the potential to spread smrthward 11        the c1!ante warms           For
   examp'.e, the vector of dengue lever breeds year-round in the 1.!nited States
   only in southere. Florida. but it could move northward by several hundred



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                                                                                                 9) concluded tha                           o
miles      The National Research Council Workshop
the expansion of rangos of tropical disease vec ors
                                   -    Public healt
developinE c°4011 *                                                                              lth their current
                                                                niectious disease w
 readily hardle a dramatic increase r.
                                              ld depend largc1y on
 resources   Their future ability to coPe v°°

 improvement in living standards
                                                               arch/warninc avste
                                                                                           a could be developed
          2         Adaptation.          A natiana
                                                                   ,urricanes and severe
                                        -hat now varn of I
  (such like the systems                                                                                       n :ation
                                                          ditions are inminen
  adv se P,ople when r.tressful weerher con
                        1d be    conducted          ir. nnticipation o
                                 o new areas            An impr<ived b
                                                y na;1y        improved surveillance              ny
   developed                                                             d
                                          t         inctdence and sprea
    rovide better data on t e                                                                                                           o



   E      Other Potential Effects
                                                                                                 ble global warotor.
                                        considers        the   lePlica
                              fisheries,      water     resources.          a nd   blodiversi v            le a variety
               s bl       adverse      inFactr. have been iden !!!cd                  in each of these arcos,

                              ative analysis has been attempted to date
         et e quan

                1       forestry.        Cli"*TC
               .r       industry       Unfortuna          y. n°
                          c   impact of such chant,en ©n producers or consumera.                           A

                              both yield and price effects are relevant
        ap icut ture ,

                    a   possible Impacts
                                                             Irpificar.t varming occurs                cllynte.indaced
                                                                        ,    in    w +n   FIO yents       Fores.t   ranges
                                   ,orcS--      enHd    he    n¬na'er
        d1BDE.L                                                                             forests in the castern
                                           bl         The southern boundary of
            d abrir             onsidera        y
        cou'                                                                                     d kilometers       nortt
        yníted States could move several bandred to one                               tl.ousan

                     b'    lobal chang, scenarios  The poteMial nor*m I"W© °"
         undar plausi ** 6                                       der thn«e scenari°5
                                c.?OO b over the next centur> un
          hift by as auc1 an .
                                                           limit the actual movement                                         to
         but sicw E"




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as     little as     100 k:n      Northward migration may also be                        limited by less            fertile

soils and decreased sunlight availability in the North                                     These projections do

nc#t    account for the favorable effects of CO2 on varer use efficiency and rates

of phorosynthesis,             reductions    in free:c damage.              or human intervention in the
forest m15tation process

          Changes     jn   forest   d'strihatin-        and    co-rnnsirtop            rou'd have    ma'or          irrpacts

on     rimber    rgod·:ctior      r¬ann*f   freer   forests         and recremr.jenal         ceorru-'tries

Dichack along the southern limits of U S                        forests could result                 in productivity
declines         in preser.t    da:rinant   species of ¿^ to 100 percent under see, p;ausible

 scenarios          nis estimate does not accourit                  for hu:aan intervention                   such as

 species        transpiar.tation         D.e resporse of        forests to climate change could alsc
 modify runoff patterns arid              increase    the potential              for    soil crosion

          Forests      in other     reg,tons. of    the world would also be affected by

 signtilcant        warning       A recent analysis           for    the   IPCC        (Government       of    F;nland

 19E9)     suggest:. that boreal          forests will beconc g.m productive                        if    r,lgnificant
 warming occurs            Others believe that          thene same forests would be especially
 hard hit. since most climate madels suggest that any warming that occurs would
 be     greatest    in high latitudes          Vtsile    temperature             increases may       be       soaller      in

 the tropies,         tropical    forests could be significantly affected by changes                                  in
  rainfall and land use pressure» that may ícpede forest migration to more
        table    locatiers

           b     Adaptation       Todav's fore -        reanagerent decisions ccald have                        lon9- terr
     ime-e      ori the cer      it!on    and location nf           fneest..s.         Planned adaptation

  neasures that could be considered include maintaining forest diversity and
     extensiveneas to enhance         the ability of forests               to respond to a range of

     citantic conditions,        developing and testinE fast-growing and heat-                            and
     drought-resistant species. preparing for dieback alon6 southern boundarica
     with plans for rapid harventin6 and removal                     of dead treen and replaccment                    with

     better adapted species or non-fo:est systens,                      laproving capaba.litten                to
     monitor for changes        in forest growth and composition,                      and acdifying peat            and




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fire control strategies to reflect likely changes in the frequency and nature
                                                                                                                o
of these disturban::en

         2.       Fisheries.           nie effects of global warming on fisheries depene
pricsarily on changes in regional climates and ocean circulation and on the
pace at which they occur                  The cualitative effect. of warminr on fisheries nr.
thus hichly uncertain                 and no cuantitative econorric analvata has          to our
knowledee           been arrexpred

         a        Possible Impacts          The impacts of any significant change in
terrperature on ii.:h populations would var3                   acro n species     some would

cr.perience          increased habitat and us.sociated expansion of range                Adaptation

would be easier              for fish in large bodies of water         including the oceans.       thar
 tot    those constrained             in seta11 vater bodies     Total productivity of      fishir.g
 grounds          in the Great    Lakes and oceans could increase          11nder some    scenarios,

 phytoplankton and fishcry productivity could increase                    in the Great     I.akes by
 1 6 to 2          7 fold,    but there    is the potential     for a decrease   in diversity due       to
 intensified specten             interactions      Climate change effects on the ocean are
 particularly uncertain due to the complexities surroundtrg ocean circulation
 which until          recently    has    not been explicitly considered in climate models,

 heat    uptake bs         the ocean,     ar.d future patterns of nutrient upwelling         One
 study found that many Culf Coasr fish and shellfish would be unable to
 tolerate auch hígber terrperatures

             lf    there   is rapid sea level     rise and resulting saltvater      intrusion and

 wetlands          loss.   chenr.es    in the distribution and size of     many estuarine    specte

 would be possible               Any losses of coastal wetlands would adversely affect
  fish        less salt-tolerant          species would tend to n!grate upstream towards
  muit.able habitat.           ceding present habitats to more salt-tolerant species               in
  lak.cs,     streams,       and estuaries, declines in water quality due to reduced
  dissolved oxygen levels at the higher temperatures in same scenarlor. could
  neversely affect nany recreational species




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        In the tropics, species dependent upon coral reefs could experience
significant adverse effects               Coral reef ecosystens could be vulnerable both
to increased thernal stress and to sea.level rise. if it were rapid enough to
inund.ate and kill the coral species

        b    Adaptation          Borb the ne*d and the opportuntiv for plønned adaptAr1Cn
                            ej     Connercial fishing occurs primarily in the ocean,
 where effects of possible climate changes are especially uncertain                                Changes
 in species      location and composition could require some adjustments,                       but
 comnercial      lisheries now make sinilnr adjustsents                   in response to overfishing
 and the natural movement of             species        Travel    time to specific    commercial

 fisheries may rise or iall.             and changes      in available specich may raise or
 lower equipment cost             If equipment adiustnents were made gradually, as
 durable ass.ets were replaced,            their costs would be relativci)            saa

            Management of water flow to lakes and streams could affect                      fish
  populations      in those water bodies           Restocking..         which already plays an

  important role      in recreational fishertes,              and new species     introduction could

  aid   in adaption to climate change              Reducing water pollution could offset

  adverse warming      tempacts on scue sperles

            3. Water Resources.              Even it an auuned rise ir rerional terrature
                     ,,en    ir   's   dif''cult   to     edlet     the   inrneen of c]!rrnte      chance or

                            nuch confidence because of uncertainties ahnut rerional
                        The quantitative escinates               that   follow a suoc a U S
   tenpcrature increase of              4°' to 9°F and an annual precipitation increase of 1

   to 3 inches
             a   Possible Ispacts         Such higher temperatures would likely reduce
   snowpacks by shortening the snow season and causing more precipitation to in!!
   as rain        This could have a significant affect on the operation of such water
    systems as     the Central Valley Project            and the State Water      Svatua in

    California       Vith no change in infrastructure, earlier snoweelt would raise
    flood probabilities in the winter               Management response to thi.s would reduce



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annual deliveries by 7 to 16 percent          similar pre. ens could be exP© 254
other Vestern water management systems
                                              infall       it is hard to estimate the
       Because of uncertainties about ra               .
direction of change in water supply in many r*E onS
 for rivers that are not fed by snowpacks, such as many rivers in the
 Southeast      Higher temperatures could lower nany lake and reservoir levels
 through the effects of increased evaporation that was not offset by increased
                          the levels of the Great Lakes could fall by an averago
 rainfall       For example.
 of 0 $ to 2 S acters, which could-       5°ong othat things,      reduce dilution
 capacity       On the other side of the coln,       the Great   lakes would benefit   from n

  longer shipping season and a reduction in water po llution due to reduced use
  of salt    and other chemicals to cope with ice and snow

         If adverse develoPaents occur,      future costs would be incurred          For        - -   -
         e, the future costs of building additional reservoirs for the California
  systens could be ovar $500 million (undiscountad)           and the co6ts of dredging

  harbors and making other adjustments could cost $270 to 5½0 million
                             the 1111nots shoreline alone        (hote that a $500 million
   (undiscounted) along
                     red in 2020 could be financed from the Proceeds of an investment
   outla-,   requi
   of only 5116 million today, ass*6           042
                                                 F
   invented fundS       )
             The implications for water quality are mixed         Dissolved oxygen levels
   could be lower because oxygen is less solMe in Mgher emeram æn M
   because hithet temperatures may increa88 Primary aquatic Productivity, which
    increases the desand for oxygen        Summer stratification could be lengthened in

    ,o., Layes , which,     combined with higher demand f or oxygen, woul d reduce
    dissolved oxygen levels and harm aquatic lite            These factors could lead to
    lower water quality in some basins        However,     reduced use of chemicals to cope
     with ice and snow would contribute to improved water quality in some northern

     areas




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        b       Adaptation        A number of ocasures could be taken to increase the
resiliency of water resources                   to climate change      Water conservation could be

promoted by reducing or eliminating subsidies ior water use or allowing
trading oi market rights                  Water resource sanar,cts could be encouraged to
explore ways to transfer water between nnighboring systems during droughts and
 to consider plausible climate change in sizing new long lived facilities                                New
 drought-resistant species could be developed to help cope with any water
 shortages in agricultural areas

            4. Biodiversity.               p..lruhoirr21                     °'h rM*-"

 that   re-.ult        in the dec       ine "   105
  the relevant mechanisms can be descrthed.                   their effects under different

  climate change scenarios have not                   been estimated

            a     Possible Ispacts          Changes    in c1!aare would harn soor     species but
  benefit others            %e ability of a natural conwnley to adapt                 to chan6iDE
  climatic conditions would depend on the rate and character of climate change,
  the   si:e of species           ranges,    the dispersal    rates of   individual    MPecies,   and

  whether or not barriers to migration are present                       A sperter.' ability to adapt
   to chang,inS clinatic conditions would be heavily influenced by dependencies

   upon or competition with other species within the ecosystra                         For this reason.

                     rs of ritmare change on natural         co-granities are difficult in predict

                n general. connunities near the edge of a species range and arctic
   ccxur.ities would be at particular risk from significant clinate change,                         as
   wou-;d species that aigrate slowly. that are already threatened or endangered,
   that     arc      specialized to saali        and isolated environments     (such as montane and

   alpine compu"             ")    or    that have narrow habitat      requirements     In some cases,

    san·sade barriers say lisait migration                  examples include manuals     isolated   in

    refuges and prairie spec!cs blocked by expansive agriculture

                b.   Adaptation.        Existing prog,rams. t.hat focus on the protection of
    e.ndangered species and preservation of                 genetic diversity could be adjusted if




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the number of species at risk grows           Expansion of reserves and creation of
migratory pathways between areas of suitable habitat could enhance our ability
to preserve species       It may be useful to develop forest annagement practices
that allow product extraction while minialzing any reductions in an area's
future use as wildlife habitat          Areas that may become suitable future habitat
for threatened and endangered species, such as lowland areas adjacent to
current wetlands, could be identified and considered for protection


              IV. MITIGATION: LIMITING GREENHOUSE GAS EMISSIONS
 As indicated in Section 11. the analysis of mitigation strate61es must
 consider emissions of multiple gases arising from sany different economic
 activities in many nations         The first subaection provides some basic
 assumptions and princ,,les about alternative policies for reducing greenhouse
 emissions       Estimates of the costs of reducing emissions of each of the main
 greenhouse gases are then discussed          The comt= of reducine carbnn d!nxide and
      .      .nyncarbon cMastnv beve received the most attention           Estinares of

 carbon dinside abate-eene    costs remain preliainnrY and controversial

      rivelv 1!.rele is known about the costs of reducine emissions of other
            use rancs   Major studies of altigation policies area are underway
  within the Federal government (in DOE. EPA          DOI, and OTA, a CEO study will
  r.hortly be pubitsbed). foreign governments (a major Japanese (MITI) study will
  be coupleted by March i), and in the private and non-profit sectors          (work is
  undervey at EFRI, Harvard, MIT. and Stanford)           A revision of thia section
  ..i-un a ven- or evo 'rore now could relv on a mmh decner research base nr+d
  ,1cht have different     rollev !=nllraelan«



  A. Background
            Two points are basic to any discussion of sittgotion policies        First.
   ,inhal    aceton is evnential   if meaninrfiel   results are en he obrained withone

                                                                Second, as in other




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regulatory arenas, mitiration colicies shnvid minici7e costs by relying to the
                                                       fl ew1bi 11 rv


         1. Global Action.            Table IV 1 su==ariz-S 5°=* k'Y d^t" ±rom section
II      Anthropogenic emissions of aethanc (CH.) and nitrous oxide (N;0) are
mainly agricultural in origin and are mainly produced by the developing
                                               action    concentat*w nn arrículture                would

 be necessarY if 0 dMisio
 current CFC emissions are mainly produced by OECD member states                            (which have
 aircady pledged sigt.iticant         reductions and are likely to cocait                   to a near

 total phasecut),         cyc emissions of other nations are predicted to rise rapidly

 in the future 11 no additional controls are put in place                              Finally, while the
 OECD nations are nov the single largest source of anthropogenic carbon dioxide

  (CD ) emissions, emissions of othez nations. which already account ior ranrr
  than half of total emissions. are expected to increase rapidly abnent serious
  sitigation efforts           The OECD share 01 CO, emissions is Projected to fall
     below 25 percent by 2050         Taktnr account of ennected future emissions
         ,.v,·.-    the need for glohn)   action 1s evident for these rases as well



                                                Table IV 1
                              Anthropogenic Greenhouse Gas Emissions



                          Fe rcent age Share                 t'.-    " '"*      ""*
                        of Radístive Forcing                   OECD          USSR/East      CP Asia/
                             n che 19PDs                      Nat jons         F.urope     DeveloMnr

            CC,                 49                              43               22           h
            cg                   19                             25               13           66
             CFCs                14                             65               16           IB
             N,0                  5                             27               14           59




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      Table IV 2 considers the effect on global CO2 emissions in 2025 of the
unilateral adoption by the U S        or by all OECD nations of four frequently-
discussed emission limitation targets         reduction of emissions growth by 50
percent, stabilizing emissions at 1985 levels by 2000. reducing caissions 20
percent below 198      levels by 2005. and reducing emissions        O percent below
1985 levels by 2025          Though the underlying global and regional emission
scenarios on which the calculation is based are necessarily uncertain, the
basic messa5e of this table is fairly robust          even drnsric reduction      by all
 OFCD natione cannm prevent substantial increases in volld CD, emissions by
         nilatera'.    actions by the C S    have even smaller effects




                                         Table IV 2
                       Global Ettacts of Unilateral C0z Emission
                      Reductions by the United States or the OECD
                         (Index of Global Emissions 198½l00)

                                             Global CO, Emissions   in 2025
                                                  if Policy Adonted by
                                                l' S oply          All OFCD

       None    (base Case)                                  207

       Reduce Growth by 50t                         203               198
       Stabilis, by 2000                            203               198

       Reduce 20t by 2035                           194               182

       Reduce 50s by 2025                           189               169

       tiote     Based on RCV scenario in Leshof and Tirpak (1989). usin5 1985
                 emissions as the baseline




         Table    IV 3 considers   the implications of meeting the emisalon policy
   targets of Table IV 2 on a global basis if nations outside the OECD take
   actions that are significant but      less than proportional to the targetr.      The
   table shows that vitbout full participation bY other nat10Ds         the OECD member




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r.rntes wouw, µve en g4e arwaric or incose.npe c                                       to oce t vi de I v .cl    scur.--ed       ..
                                                                                                                                 O
r obal     CfL emission-.        roals




                                                  Table IV 3
               OECD CO3 Enlasions Reductions Required to Achieve Global Coals
                                 When Other Nations Take Lesser Actions


                                             Actier $sæteci Toon by                                  Required
  Global Goal                       USSP'F     f.urore        Develo;>1rg. Nnr tons              DECD Reduction

   Cat     Crowth 50%               Growth cut       250                None                      984 by 2025

   Cut     Growth 504               Cro-th cut       254      Crowth cut         hv    256         314   by    2045

   Stabili:c        by    2000      Growtb cut       504      Growth cut         hv 256           414 by       2000

   Stabilire bs           2000      Growth cut 504            Growth cut by            504        296 by 200D
   1.ut    204 by 2005                   Stabill:e                       None                     Escaeds       100
   Cut 204 by 2005                       stabilire                    Stabilize                   *64 by 200
   Cut     50t by 2025              Cut 204 by 2025                      None                     F.acceds      1001

   Cut 504 by 2025                  Cut 204 by 2025               Cut 204 by 202                  H94 by 2025

  Notes         Based on Rñi scenario in lashof and Tirpai                       (1969), using 142
                c:nian ionr. as the baseline              Developing. Nations           include Centrally
                Planned Asia



           2,     Differential           ImpàCtS.          L'hlle 51obal        action nay be essential               for

  effective mitig,ation.           differences       in cc,sts        and benefir«       ar-nor nntlan-. rrnv nnte

           f+'ei l'      -e chta'n Fl°hal     afr"'®*"'          ""                               Table       IV 6

  showr.       that CU    emissions per capita and per dollar of GNP vary substantially

  Ancing those countries            for which GNP estimates              are available,         higher-income
          ons    tend       havc higher emissions per capita but                      lower   emissions per

  dollar of GNP             The Us5K and Easterr. European counttles have particularl·, t.igt
  ertissions            These vartations nako        it    easy to      luar,ine an international             repia

  c.f    the    -clean states v       dirty states'         debates      that have       oarked Congressionai




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consideration of acid rain proposals            The stakes for oil-egor&g
                                                                                              a
nav be particularly high (Whalley and WiEl'.
        The United States has a relatively high per capita CO2 emissions           rate

tot   tvc   reasons     }irst, U 5    energy   intensitY (as Bea5uged by BTÜ$ CCn5u ed

per constant dollar of GNP)          is higher than that of most of our major

 competitors      it   is double   that of .Japan and 75 Percent above   than of Wes
 Europe      Second, coal provides about 27 percent of total U 5         enerE:7
 requirements         Among najor industrial countrice, this share is exceeded only
 by the U K      (32 percent) and West Germany      (79 percent)   The United States
 also relics     le-,s heavily on nuclear power     than do many other   industrialized

 coant r les




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                                                 Table IV 4

                   CO2 Enisalons For Capita and Per Dollar of GNP, 1986


                                            Per Capi 4                   Fer Dollar of CNP
                                         (tonnes of Carbon                  (kiloßrans o.


                                                   c05                               2
       United States
                                                   044
       Canada                                                                   O        6
        J apan                                                                  0
        ',;est    Germany                         3 066                         0
                   ,,                             3 253
        Austrs_         a                           ,o.                         O
        r r ance                                                                      33
        United ringdem                                                          O lo
                                                    75
         Spain                                                                   1 60
         Poland                                                                  o       9
         Mex ! co                                 0 90
         South Africa
         Bro:il                                   0 527
         China                                    0 18
          Indta
                                                                                 n a
          Ea:;t    Germany
          Czechoslovakia
          USSR                                                                      n a
          Romani n
                            9   c-sent of Energy ar.d WollLhak2
                      set at countries listed tros hir.hest to lowest GNP per capita
                    c uden ezis.sions from fossil I"el combustion and cenent preduction
                  only          'n * - means a not        avaílsW   in




            geca,_se         the United States   relies heavily on coal,        the      for.sil   fuel   witt.

     the t·.ighest aoount of carbon per unit of energy.                  for electricitY f.eneration

     U 5. electricity rates woM be Inely a rW
     indetrialired countries if concerted act.lon were taken -for *×ªzple, by
                   the s.ame charge on the carbon content of fossil                 tuel--to curb CO2
         estoræ             Unless enerry-intensive U 5       industries were able to greatly




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increase their ener y efficiency, they could be disadvantaged relative to
ciajor foreign competitors who would be less affected by electricity rate
increases
        In addition                      because     the t'nited States has an abundance of coal

reserves,        but only limited reserves of oil and r,as.                                   and very little

undeveloped economical hydroelectric potential.                                         11mits on coal use would

 likely result in larger imports of oil and 585· which will have implicat!°nS
 for our balance of trade or energy security                                         All of     this presents a marked
 contrast       to the              19'3 and 14'9 oil           shocks.      where our greater self-sufficient'r

 in energy provided an advantage                             relative        to 335l °                                                             |
 On t!.o       other hand.               sotre   argue   that    in tbc       ior.ger    run.   nur more enerr.y-

 efficient cortpetitors will                          find it harder to reduce cair.stons,                     since    they have

 already undertaken cheap efficiency 2natures that we have not

           Since adaptation cost6 aro                         likely to vary substantially among nations
  se oss       interest             in    investing in mitigation                Lxisting andels,            suggest   greatet

  warming       in high northern latitudes                        and less       warming in latitudes where most

  ee.,eloping nations are located                             -here     is likely        to be considerable            regintml
  s.cia-.ton         in agricultural effects                      Nations diffet           r.ubstantially        in their

  vu;nerabillCY to 5©ª^1evel                          rise      A h!gher share of GNP originates                   in climate

  3ev,itive activities in develo;iing nations. but these nations gencrolly lack
  resources           for       adaptation            in short.    wbíle clobal           action is essential            to
           ,          .3        ,ie;.       er,e.hone emiss<ons               differences        n,ner ""Fl°''         '"Y 'ake

               racy             o        e-1 universally acceptable etissions TJrFrtr. 07 vavs of
    .            .    e    en        .    irvelved


               3. Incentives and Market failures.                                        Consistent with its approach
   to domestic              regulatory issues,               this Administration feeis                that    an approach to
                                         e-c.-.,-ear -reechnme err'sslors rhar enromnanses sli                          innorrant
                                         .e.1   -a   sinks   ar. ve'l   n9     ran    anurre     la   note    praTisinr       rhan

           ....                      r. each source of creenhou'ie cases                      inddv'dunilv        Ar
    internationa                limitation agrecaent based on the comprehensive approach,                                     for
    cumple           vnald allow each nation to devtse a arrategy that railecta                                        its own



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situation regarding opportunities for omissions reduction and sink
                                                                                                                              h
enharicement          The Administration also f.eels that a                                             hould he
frer   nt    arv rime to develon a           lojrt straterv ro fier               he
                                                                        greased        An approach

incorporating these principles was outlined in a C S                              concept paper tabled at
the IPCC

           Even if a comprehensive approach with provision for pooling were
 accepted,      opinions are divided on how individual nations--in particular                                the

 1.nited Stater.--should set domestic policy to acct net emission limitation
 targets        Afnin!-trat'on          rerula!"-v ra' icy       renera;1v hn;ds          that   prlwerv

 relinnce should be vlaced on incentive-based nooroaches--ine;udine charces.
 u-.cr._fee.s    nra trndable eMs--tors I            040rhts
                                                           This view follows                from the
 presursprion that households and f!ras generally respond rationally to
  ocentives,         so that regulatory goals are act              at    least cost by providing, proper

  incentives and maximal flexibility to respond at all points along the
  production-consu2prion chain

                        _-rbnn]    o+   rhnurh-   remis    nonetheless      to    |nvor    the   use   of

  ,,ess                771_ards and nther co-cand and-enrrrol               techr,joucs          Adherents of
  this      school   point    to apparent widespread deviations              from best pract ice            in

  energ-,- use and to reports of             larr.e payoffs from utility conservattor. progra:as

  as      indicatinr. market      failure     They contend that           r,overnment regulation can
  reduce CO2 emission.s.           in particular,     at    low or even negative cost by helping
  or      forcing individuals to take actions that are.                   in fact,      in their own self-

   inte rest

             Mor,et    fa81uren do nnt        of enurse         ntnvide an automaric         lust!!!cation

                     v_cgulatinn        Market failures. where chev exist. can be addressed
   directly          For   ex.anpir,    since utility profits under traditional State rate

   rc5ulation are often linked directly to the                     level of electricity           sales.     a

   utility faced with capacity constraints would usually prefer to increase
    supply rather than reduce demand                Regulatory changes at              the State level           could




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be made to place the alternatives of demand reduction and supply augmentation
on a more even footing.     Public information proßrams, promotion of emcient
appliances by utilities, and changes in mort6age qualification rules to
reflect appliance operatin6 costs are other steps that could be used to deal
with market failures directly


                                                 latim beve 4RXRI.Bl..A15Bifi-GAB
                  relat    in.. neentive-based syste or apomches that.addma
                                           First, the burden of aceting standards
 cannot be reallocated across industries or across the different greenhouse
 gases in private cost-savin6 transactions. Second, in the absence of Price
  increases for fossil fuels, standards can increase the demand for energy-using
  services.    Finally, standards reduce the range of products available to meet

  diverse consumer needs.
                                                     R..3Mden rather than enlicit.
  For example, o higher everage fuel economy standard night be met by forcing
  eensumers to buy only the more fuel efficient and generally cheaper vehicles
   in the existin& product line, actually reducing their purchase and gasoline
              owever, out-of*Pocket costa do not reflect costs imposed on consumers
   by hoying them the option to purchase other valued attributes such as safety,
   performance and spaciousness.    Higher fuel efficiency without higher fuel
   prices al*o lowers the per alle cost of driving, encouraging additional trips.
   fuel consumption and estasim,       nnee fuel ecemy laMa aba          WW
   6**d       °ggetton to auto purchasers, and there are few apparent institutional
   rigiditie* in this market, the scenic rationale for stringent vehicle
    oggietency standards is doubtful at best.

         More generally, assertions that efficiency improvements are cost saving
    or nearly costless raise the classic question of why these improvements are
    not anécasatically taking place.   Such essertiene must be examined to see if
    the claimed efficiency gains involve tradeoffs with other product attributes
    that were emeluded from the analysis.


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       Efficiency standards based on national average values may actually serve
                                                                                                                              cn
to restrict the choices of only those consumers who face low energy prices or

have low usage rates (and thus energy consumption) for the product                                           Those
with high usage rates or those who face high energy prices would purchase high
efficiency products even in the absence of mandatory standards                                       Taking this
self-selection       into consideration.               an cificiency standard that appears                     to save

money on the national level may actually 1:npose costr. on many consumers

        Economic models populated by perfectly rational                           f!ras and households

participating in perfect marrets that                        are always    in equ!!!briun clearly do nct

 provide a fully realistic characteri:-ation of                         the C 5     cconociv         Sor   the
 alternative extreoc assuoption.                  of widespread private waste eas!1y corrected

 by regulation but untouchable by earset                       incentives or direct correction of
 market failures. seems at least as far off the mark                              Tne question of where
 truth lies betweeri these extrenes is ultimately enrpirical. and it cannot be                                           --- E-
 answered here

         it is    important, however,             to point out that essentially                all analysts of

 agree that      some   -edurrions        II    freenho"*"      ras enisstors       can he obtained nr            Ic.

 ça        Disagreements focus on how fast the sarginal cost of abatenent ris.cs
 and on how the         initial,       low-cost    reductions can best be obtained



 B. Carbon Dioxide
        ro-hnn Dioxide (CO.) arrnunted for about 49 cercent of the tricrcase in
  erAa nt f ve   intrinc   jn   rhie    19H05    and    is   evnerred    'n n-enu    r   inp   a     nree-    ,hnrs,

  !n ebe fu'ore          The Administration's acid rain proposale, by providing
  incentives      to conserve electricity. will reduce CD) caissions                           from electric
  utilities by around 2 percent--and will thus reduce total U S                                    Iossil fuel C
  coisstorts by around 0 7 percent                     The higher CME standards adopted last
  spring will be I!kely to slow the increase                      ir CO2 eminaions iros automobiles




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(Edmonds and Reilly, 1983)                                       Even sreall differences in baseline annual
                                                                                                                                                     c.n
emissions growth rates                              (BAEGRs)          can have a major eficct on Irvels of                         emissionc

over the long time intervals considered in 61otal climate analysis                                                                 1-or
example,                an increase of avernge annual coi                               sions growth fron 0 6 percent                      to

1    é      percent            translates           irte a 43 percent                 increase in annual emissions                   levels

by 2050                  Higher ILAEGRs translate into higher, souctimes much higher. costs o!
mocting particular target caissions '.evels

               For hlF,h BAFGRs,                     even quite draconian policies do not                          sir;nificantly

    shift      the date a                   which atmospheric CO                  concentratiotu           doubir    frort

    preir.dustrint                   values          For    lower BAE.CRs             pelícies     to st       tre czissions

    appear          to be more                  feasiele         The different          scenarios evaluated           tr. the :todcls
    cor.sidered below are best                             thcught of as          illustrartvc        scenarios-       possible           sets

    ei      iurernally consistent                      future developmentr.-.rather                   than as definitive



                   Vhile        the        studies    discuss.ed below differ                 in many respects.          and their

    shorttocins;s point up the r.ced for                                     further economic        research,       they al'.       suggest

    that hco.'-                       c                7a'l°r °f red.:ction of CO. reit.r.lor s vill be high--e-
       ,.phpr-cen*                         of    GNP per vear          for    cc*'r'n'.V diªcur-sed        ros;r    such as        the

                         er    syn¾'''-attor of                  reissions between 20 ard             100 ocrcent of              rre+ent

                          r-·e narcent of current verld CNP is about                                $1 O bt'.lion        !f world
                                     v,rnre annual rare cf 1 percet·t                        the r, n1 cner en ?oso
              enu--tc1          at     5    rercentì       c.f    }   percent    of    GNP   por   ven-    wnuld corar       in    abour

     --.           er          n-.         If ccer.orric crnvth is sirrificantiv t.lnwed                           costr. could be


                    s.    Energy/Economic Balance Analysis                               Kaya (1989) and Kaya.               et al
           . 964        wurk from the following, identity

              G:owth rate of CDa colas!nna -
                                 growth rate of Ca2 emiulons per unit of                              ener6y use
                              + growth rate of energy use per unit of output
                               042
                                 growth rate of output




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A    -1       O percent        growth rate of energy use per unit of output               is assumed, alon6
                                                                                                                                    cn
with a growth rate of                   CO2 per unit of      energy use of,between -0 6 and -1 0

percent               The   former estimate may be viewed as sorrewhat pessiaistic,

especially              if a substantial rise           in energv prices occurs          The    latter estimate

    is rather optimistic given the likelihood of increasing reliance on coal and
coal based synthetic                   fuels that are highly carbon intensive

               Under these assumptions.                a CO2 caissions growth rate of          -1   0 percent,

    which is necessary to toplement a 20 percent cut                        in emissions by 2005,           is
    associated with world output growth of 0 4 to 1 O percent per year                                  Over      the
    last       several decades           output has growr at 4 to 5 porcent annually,                 and
    population has grown at a 2 percent rate                          -hus these enlc·sinr!ons enll fpr a
                    n o·crut    growrb n'   1    to c. mercentece     r»,lrrs ner ven"    leading      to an

     a    rnst       certain decline      in per capita      inenne
                                                                                                                                a
                    Even if CO     li.mitations redaced output growth by only 1 percentage poin
     (i e       .    from 3 percent te 2 percent).           the long-run effect on the world econom
     would be staggering                 The cumulative cost from now to 2050 (using a 5 percent
     discount rate) vnuld be $107 trillion dollars--just over                        7 times world output
     in 1967            This reduction in growth would dePress output               in 2050 by about             45

     pc rc ent

                    Ot. the other hand, experience following the 1973 and 1979 oil shocks
         irdicates that          the   relationship between economic growth and energy use may be
         icss rígid than Faya's francwork suggests                     Between 1973 and 1985,         the price
         of   energy ros,        by 47 percent      relative to non-energy products at the consumer
         level       and by 80 percent      at   the    industrial level      Partly as a consequence,                the
         ratio of energy use to real CNP fell by 2 4 percent annuaí1y in the United
         Stater, and 1 4 percent annually in the OECD countries                     C03 per unit of ener5.-
         also fell during this period, as us,age of natural gas and nuclear power
          increased rapidiv, and V 5               and OE"D rn, enisalons were cuentially constant




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        This van not a period of econo:sic boom, however. growth rates of U S
output and productivity over the 1973-8                           period, 2 3 percent and 1 0 percent
respectively.       were     far below the corresponding rates of                           3   7 percent and 2         9

percent for the 1%5-73 pre-shock period                             While most of the slowdown in
growth can be attributed te other Lactors,                          higher energy prices played an

important role             The    rise     in ener6y prices         led to a substitution of other
in;,uts for energy and a diversion of investment that might otherwise have beer
used to     increase labor productivity

        Moreover.      part       of    the decline       in the energy/GNP ratio during                     19?]-H

reflects     the   increased           relative     importance      of    the    sereice        sector       One cannot

count    on comparahlr           increases     in the      future.       especially as           the 1.nited State-.

noves     fro:n bcíng a      large net        Igotter of          nanufactured products               to a    large net

 exporter in order          to balance        its current account and repav internntional
                                                                                                                                   E-

          While    the use of          natural gas could continue to expand in the near                             ters.

 the absence of       nuclear projects              in the pipeline and current                  stronr. public

 resistance       to this    torn of        power in the United States                  suggest     it will    be

 harder    to substitute           nuclear    for    fossil      energy    in the       future     than in the        197?

 E5 period         On the other hand, aany have argued that macroeconomic policies
 and energy rcgulation contributed significantly to the poor economic
 perfornance of that              period.    and one can hope that r.!milar po;1cies will not                               he
 adopted in the future                  Moreover,       revenues froa a carbon chaty.e (discussed
 below)     could be used to lower other taxes, while much of the increased
 spendirn or o 1           in the 1973-85 period flowed abroad

          Deaptte these caveats.              the perind of the oil                  shocks or(wider, a useful
  der                                             the    likelv    Ivaner       n|   Cn,   eminston      reduct!nn

    Ticier, on n       t         ary1 rr    Nr-tyttv crnw b              Energy remains a major input                 to
  the O 5     cconoa         ared studies discunned below aungest                       that energy prien
  increassa at      least as large as those experienced between 1973 and 1985 would

  be required to achieve widely-discussed targets for CO2 caissions                                      reduction




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on balance       there     in no reason to bel.teve rhar          anv arretsor     to reduce     enern
use sirpificantiv todav va'Od be substantially le5* Pr°o°,rically disrvPtivl
than were the oil shoeps of the 1970s

         b     Long-Ters Energy and Energy·Economic Policy Model5                       These models
allow f.or explicit analysis of policies that raise the price of fossil fuels
 to discourage      their use        The most nawal           (and easily MW)

 this    sort   involve     l¤Position of a endon darre
                                    , 'ed on tt        carbon content of      primary   fossil   fucis    a
          A carbon charge         lc·.
 their       first sale or entry into the distribution system would provide nn
                                              f    .ficcttrig the    social    undesirability of
 adeLoistratively          sir-pic acans o        r-

  greenhouse emissie       °
  significantly alter the relationsh!p between fuel carbon content                         and CD
  eatssions       and an econnnical carbon scrubbing techr.ology is not                   anticipated ir

  the near      future      there   is no efficiency advantage         in applying the charge to

  end users        Sellers in long term energy contracts (especWlv
  should not be       forced to absorb the charge to fulfill               their existing contracts
  Tnis probien can be avoided by Lapos.ing the charge on the buyer                        in the first

                      De sendinr, on other nations'          nitigation actions.        coal destined
   transaction          T
   for export might be exempted from the charge,                  and a ref.undable etedit for
   netrochemical         Ar·d °          ses of fossil     fuels that sequester verifiable amounts
    f    carbon could be considered               in principle.     imports of   electricity r.enerated
   from fossil      facts should pa)         a charge based on the carbon content of the                 input
   iuel       though this could conflict with our free trade agreement vit.h Canada

              unitpe an ordinary taa. which dLacorts private decisions                    such as the
    choice berveen work and leisure                an appropriate carbon charge can actually

    improve      resource allocation and raise welfare by closing the gap berveen the

    private and social costs of carbon esitting activities                        A carbon charge would
    affect      decistons     ranging from the choice among alternative technologies for
    generating electricity. to the energy efficisocy of cars.                      buildings.    and
        industrial equipment.       to the demand for automobile travel and products made




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from steel.     Because a carbon charge provides incentives that affect decisions
at all points along the production-consumption chain and across all
industries, it automatically focuses on those activities where CO, emissions
reductions can be achieved at least cost.      The least-cost property of charges
when markets work well is useful in placing a lower bound on the economic
implications of particular greenhouse gas emissions cargets, even if other
tools would actually be used for implementation.     A carbon charge does not, of
course. provide the full flexibility and efficiency of a comprehensive charge
system applied across all greenhouse gas sources and sinks

         Existine econouv-wide studies eenerally inoly that carbon charses on the
order of $100 oer ton or more would be needed to have a sisnificant effect on
carbon dioxide emissions.     At current prices, and not allowing for fuel market
responses, a carbon charge of $100 per metric ton would increase the average
price of coal delivered to electric utilities by 178 percent, the average
price of natural gas by 49 percent, and the average price of oil by 70
percent.      These impacts are comparable on avera5e to the energy price
increases caused by the oil price shocks of the 1970s. Electricity rates
would immediately rise by up to 30 percent, 15 times the average increase that
would be produced by the Administration's controversial acid rain proposals.
         Nordhaus (1989) provides an explicit (albeit necessarily crude) analysis
of the costs and benefits of reductions in greenhouse gas emissions.        His
highly uncertain point estimate of the future costs of warnin5. based on
selected EPA estimates of its effects on sea level, electricity demand, and
agricultural productivity is 0.25 percent of future GNP.      Even this small
 impact is sufficient to justify low cost measures, such as significant
curtailment of CFCs and a small $3 per ton carbon charge.      At the high and the
 range of effects that is likely to contain the true effect (anywhere from a
 benefit of 1.75 percent of GNP to a cost of 2.25 percent of GNP), a carbon
 charge of as much as $40 per ton might be justifiable.     This analysis suggests
 that if carbon charges are found desirable in principle, serious canaideration
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the modelins exeretamm discussed here.    Once a carbon charge system is in
place, the rate can be reistively easily raised--or lowered--as scientific and
economic uncertainties are resolved in the future.

     Manno and Richets (1989) simulate policies capable of stabilizing U.S
Co, emissions at their 1990 level through 2000 and then reducing them to 80
percent of this level by 2020. Their policy is a charge that begins at $29
per ton of carbon but rises sharply after the year 2000 before stabilizing at
$250 per con by the middle of the century. Initially, the emissions limit is
met by fuel switching from cool to natural gas.    Natural ges, which accounted
for 12 percent of electricity generation in 1985, accounts for 27 percent by
2010.    h rapid run-up in charge races after 2000 reflects the difficulty of
escuring a 20 percent emissions reduction by 2020 in the face of     042²ha*8©i°°
                                                                             °f
natural gas supplies and prior to the large scale deployment of advanced
cochnology alternatives to fossil fuels. Costs build to about 5 percent of
GNP by 2030 and maintain that value through 2100.
        However, the costs of meeting the emissions target are significantly
 reduced if the BAEcR turns out to be lower than the 1.7 percent they assume.
 For example.     1042
                    Percent autonomous (not linked to prices) improvement in
 energy efficiency reduces losses to about 3 percent of GNP.    h further
 addition of an optimistic forecast of future energy technology lovers
 estimated losses to e little more than 1 percent of CNP.
        In an early paper, gdmonds and Reilly (1983) use an energy policy model
 to consider the application of carbon charges in the United States alone and
 to the entire world     These cases may be viewed as bracketing the outcomes
 under an international agreement with special provisions for developing
 countries and/or ineouPlate Participation.    The application of stiff carbon
 fees throughout the world (100 percent change on coal, 78 percent on oil, 56
 percent for natural gas, and 115 percent for synfuels, roughly reflecting the
 different carbon content of the different fuels) beginning in 1985 is found to
 reduce global carbon emissions by 60 percent from base case levels by 2050.



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However. given the high RAEGE employed (2 27 percent) 51obal CO, amissions are
still three times the current level in 2050      A fee program in the United
States alone is much less effective, reducing 2050 global emissions by only 15
percent      Garbon chareas in the Untred states alone deoress the world market
Drices of fossil fuels     leaMns rn an increase in fonsti enerev use overseas
£hat significantly nffners the ereenhouse hanafits of reduced enerry demand
and fuel swirrhine in the United Stares

     In subsequent work. Edmonds (1989), Reilly and Edmonds (1985). Reilly. et
al   (1987). and others have used the same model with a lower BAECR     Cline
(1989) finds that a somewhat higher global charge (approximately $100 per ton
of carbon) than that considered in the original Edmonds-Reilly paper is
sufficient to stabilize con emissions at or slightly below current levels in
the second half of the 21st century with a 0 95 percent world RAEGR.     The
Congressional Bud5et Office (C30) analysis of carbon char5** (Mont&°mery,
1989, in nrogress) presents runs with a 1.2 percent U.S. RAEGR and a 2.0
percent world BAEGR.     In these runs, a global.$100 per con carbon charge cuts
a baseline tripling of Coa emissions by 2050 to a doubling.    The difference
between these results and Cline's highlights the importance of the BAEGR in
driving the results regarding effectiveness of taxes in aseting target
emissions

     some general observations apply to all runs of this model     First, while
some substitution among primary energy sources does occur, the primary
mechanism for cutting emissions is a reduction in overall energy use      second,
the burden of greenhouse policy always falls heavily on the coal sector and on
not exporters of fossil fuels (and, by implication, energy-intensive
products).    For example, in Cline's runs, coal use increases between 2000 and
2050 in the baseline case but falls by more than 2/3 when the global charge is
applied. Third, while global policies are clearly preferable in Coa
limitation terms, they are likely to put much more pressure on the world
savings-investment balance.    Crowding out of other productive investment
becomes a larger problem as more countries attempt to increase investment in


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energy officiency at the same time      Indeed, for developing countries with
limited access to capital markets, concern over crowdin5 out could pose a
serious barrier to any participation in COa liBitation efforts       Finally. the
Edmonds-Railly model is not useful for estimating the effects of greenhouse
policy on GNP, since the role of energy in the production function and
tradeoffs between energy and nonenergy investment are not explicitly modeled

     Work in pro5ress at the CB0 will also report on runs of the Jorgensen
general equilibrium model with a unilateral 5100 per ton carbon charge imposed
in 2000 (Montgomery. 1989)      This policy is estimated to reduce real GNF by 1
percent     The Jorgensen model essentially involves a "do novo- solution that
does not take into account constraints imposed by current fixed assets and
labor force skills on the composition of the economy 10 years from now       The
Jorgensen model solution entails radical shifts in the composition of
electricity supply and large interindustry shifts in the composition of the
economy. Sectors such as textiles, egriculture, and leacher grew, while
chemicals, mining, and plastics decline.
     Because Jorgensen's model describes an economy in 2000 that is very
different from today's economy and because adjustments involve costs, such
radical shifts are unlikely to occur over this time interval.       Such shifts
would necessarily entail significant dislocations      R 042cause
                                                              of these
.a unement ensrs     acnial strurrural channes and thus achaal emissinns
                                                                                          t
               wgg]d likely be lower than these results indicate.    Alternatively
          shtr. aconomie costs. includine sienificant labor force dislocations and
            .crions in the value of existins immobile assets. would be reouired
to achieve th, level of emissions reduction obtained in the Jorzenaan model
solution.

     N sectoral shifts envisioned by Jorgensen would monatheless secur ever
 time if significant policies to discourage con emissions were adopted.           060se
 largo distributional effects are thus a reminder that the averseare economie
 effects of CO. amissions reduction onlicies    variously estimated at between 1



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and 5 percent of GNP for carbon charges in the $100 per ton range, would not
be felt eveniv throuehnur the economy.

     c. Short-Run Economic/Energy Models.     A recent detailed analysis
considered the cost to Australia of achieving      20
                                                   042percent reduction in CO2
emissions by 2005 (Marks, et al., 1989).      In some respects, such as the
significant use of coal in electricity generation, the Australian situation is
similar to that of the United States.    Using very conservative methodology.
attainment of a 70 narcant emission reduction is e.stimated to slov economic
arewth and cause GNP in 2005 to be at least 1.2 oercent below the no-nolicy
haseline GNP levels.   Since Australia is a small economy with an open capital
market, the investments needed to achieve the emissions target may be possible
without driving up interest rates or crowding out other investment.

     Short-run economic modeling for the U.S. economy shows that a carbon
charge of $100 per con would have a significant effect on both CO2 emissions
and economic growth rates (Montgomery, 1989).      One videly-used
macroeconometric model shows a maximum depression of 2 Percent in real CNP
from baseline levels over the next decade; another shows a maximum effect of 6
percent.   Maximum effects on the overall price level range between 2 and 4
percent.   At 1988 energy consumption levels, a charge of this magnitude would
raise approximately $130 billion annually       However, additional debt service           .......
costs and higher federal expenditures for cyclically sensitive programs would
almost fully offset this additional revenue in the near totu         Reductions in
other taxes could reduce but not eliminate these macroeconomic effects, but
would also lose some of the CO, reduction benefits associated with a weaker
economy.

      d. Energy sector Impacts.   Because coal is at the same time this
 country's (and the world's) most abundant fossil fuel, as well as the fossil
 fuel with the highest carbon emissions per unit of energy, it is innossible to
 f,anerruct a n1ausible scenario for substantial CO, emissions redurrion virhour
 a maior adverse isomet on the coal industrv



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       The Department of Energy provided some rough calculations of Possible               c
impacts     hay find halving CO: emissions growth could produce a 25 percent               -_-
decline in coal industry employment (relative to baseline assumptions) by
2025, while stabilizing emissions could require a 40 percent decline over this
35-year period      Global commitment to a 20 percent emissions cut could lower
employment by about half, unilateral OECD coesitzent to this global goal would
eliminate the U s     coal industry, as would global or Of,CD-only commitment to a
50 percent reduction in CO     amissions

       It is important to recognize. however, that elimination of coal-mininn
tobs nraduallv over rime dnen nor necessarily teolv Increased reneral

unemolovnent, in the case of an expanding economy though there may be
persistent regional problems      A shift to other energy sources would create
jobs      In the short run, jobs will likely be created in the natural gas
industry      In the lon5er run, three r*Si°°°    042
                                                  Udl'8 °
sponsored by the Department of Energy's Regional Biomass Energy Pro5ra
(Council of Great Lakes Governors, 1985: Chamberlin and High (1986); Tennessee
valley Authority, 1989) suggest that a shift from fossil to biomass energy
would on balance create jobs.      Similarly, a study conducted for the California
Energy Commission (1986b) suggests that renewable energy technologies are
 Senerally more labor-intensive then oil and gas.
        2. Regulatory Adjustments.         There are a number of reasons *v total
          nvestment in enersv-efficiency may be subentimal.   First. many costs
 associated with the production, transportation, and conversion of fuels--
 including air and water pollution, storage of nuclear wastes, and reduced
 energy security--are not fully reflected in retail prices for fuels and
 electricity,     second, electricity prices tend to be based on average cost
 rather than on marginal cost, sich is eften higher. Third, it is often
 difficult for buyers to acquire or analyse information on available energy
 efficiency options.     It has been argued that this difficulty leads industrial
 buyers to ignore energy use implications of relatively small purchases--such
 as lighting.     Similarly, since it is difficult to estimate future utility


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bills, it has been argued that builders and homeowners tend to focus
excessively en the inicial capital costs of appliances and space heating
systems, rather than on discounted lifecycle costs.    At least one often-cited
econometric study (Hausman, 1979) finds that, consistent with this hypotheses,
consumers act as if they have abnormally high discount rates when making
appliance purchase decisions.

     Based on these and related arguments, and on studies that suggest that
cost-effective conservation could reduce U.S. energy use by 20 percent or more
(Pirkey and Scheer, 1988), many analysts have called for a variety of
regulatory initiatives to increase che efficiency of enersy use and. thereby,
to reduce co, emissions.

     a. Reform of glectric Utility Batemaking,   It must be understood at the
outset that everage cost is not always below marginsi cost and that
electricity prices are not always set by simply averaging costs.   The prospect
of self-generation by some large industrial customers, in particular, may
serve to keep industrial prices near marginal cost.
     The literature on this issue is thin, but a recent study by Wenders
(1986) provides an instructive empirical analysis of electricity prices
charged by 5 major utilities throughout the United States.    Using 1980 and
1981 data, he finds that prices were on average below marginal cost, but the
pattern of deviations from marginal cost was complex     Prices were above
 (long-run) marginal cost in peak periods and below marginal cost otherwise,
residential prices were below marginal cost, while some utilities charged
commercial and industrial customers prices above marginal cost

     This complexity, the likelihood that price elasticities vary by customer
class and between peak and off-peak periods, and the variability of rata
 structures within Wenders' small sample suggests that the elimination of
.1.rertetrv nricina distortions would be as Itkelv rn vield increases in
consumption and emissions as decreases--though such reform would on balance
 improve resource allocation



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    b   Utility Demand-Side Management     Many analysts have called for reform          &
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impediments to efficienr inveersenre in enem conservation       m basic
rationale is that existing regulation discours& 042s
                                                 utilities from Promoting
energy efficiency, because lower demand generally reduces earnin58. and that
there are information-related entry barriers to third-party providers of
 042 042nergy
      services" (Moskovits. 1988)        Two approaches to reform have been
widely discussed

     The first approach is to permit utilities to increase their earnings by
making cost-effective investments in conservation--even if those investments
are on their customers premises     Programs of this sort are newly in place or
under development for B New E.ngland electric utilities, which account for
about 75 percent of the region's power demand (Foy, 1989).     A key feature of
these efforts is close attention to evaluation and monitoring, this should
result in a rapid accumuistion of useful data.     Based on preliminary
experience, the Conservation 1.sv Foundation estimates that programs of this
sort could reduce annual U.S. anthropogenic CO2 emissions by between 0.7 and
 0.8 percent (Foy 1989. 1990).
      A second, ceuPlementary approach is to integrate conservation into the
 competitive bidding process for meeting new electricity supply requirements,
 which has been adopted in 18 states and is under active consideration in at
 least 15 more.    Cicchetti and Hogan (1989) describe an econmaically-efficient
 approach to doing this.   The beginnings of such a comprehensive program can be
 found in such diverse states ad as Maine, hs            etts, h h
 California, and Wisconsin. Bidding selection criteria could also include
 environmental externalities to allow environmentally clean projects to compete
 favorably with lower cost but less environmentally attractive proposals. A
 steP in this direction has recently been taken in the New York State Energy




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     Uhile the desirability of regulatory changes of these sorts is apparent,
estimates of notential achievable savines nf elerrririn rante hn 4 M              442M
to 75 oarcent      Industry sources such as the Electric Power Research Institute
(1989) estimate potential savings of 20 percent between 1977 and 2010           The
uncertainty surrounding these astimates is evident from the size of the range
According to the Northwest Power Planning Council, which has extensive
experience in demand-side efforts. hard quantifiable experiences is "extremely
limited "     The New England efforts discussed above may remedy this in a few
years

        c   Research and Information   Durine the omst 8 vears   DOE's R&D budrets
for end-user enerrv officio"CV I"°rovements have daclined sienificantly
DOE's 1989 conservation budget in constant dollars is less than a third of its
1980 level       However, DOE's budget for supply efficiency has increased       As a
proportion of the totsi national energy R&D budget (includius exPenditures by
DOE, IRC, EPRI, and GRI), energy efficiency accounts for only 9 percent.
Expanded funding would permit DOE to work more closely with industry to
demonstrate new energy-officient technologies, assess the long-term
performance (durability) of energy-efficient technologies, and revive research
on the patterns and determinants of energy-related decision making and the
barriers to adoption of energy-efficiency actions
        Similarly fundina for DOE proarams that orovide financial and technical
assierance to states has decreased by 2/3 in recent years         (These programs
 include the State Energy Conservation Pro6ram, the Energy Extension Service,
 and a small laast-Cost iltility Planning Program.)    There are a number of areas
where DOE could sponsor demonstration of energy-efficient equipment and work
 with trade associations to encourage dealers to stock energy-offielent systems
 and building managers to install them
        d. Building and Appliance Standarda.   Exnerience with enarev-effielenev
 ff*"d'ede throurhour the country (esnecially in California and the Pacific
 p_ayyhemer) shave char they can reduce enerry consumption       and thus CO.




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emissions      For example. California's Title 24 building standards cut
statewide electricity use by almost 2 percent in 1985 and are expected to cut
electricity use by more than 6 percent in 2007 (California Energy Commission
1988)      If imposition of Federal standards is deemed inappropriate, DOE could
assist state and local governments on code development and training and could
assist builders on design and construction techniques aimed at cost-effective
conservation      These and related objectives would be furthered by increasing
DOE's budget for building standards and guidelines, currently only $700.000 a
year

        The National Appliance Energy Conservation Act of 1987 (U S     Congress
1987) requires DOE to review appliance efficiency standards on a regular basis
and to promulgate more stringent standards where technically and economically
feasible      As noted above, the Administration generally prefers incentives or
direct correction of market failures to the imposition of co          -and-control
standards.     The pace of the statutorily required review could nonetheless be
accelerated.     DOE could also review the feasibility of expanding efficiency
standards to other products, including incandescent and fluorescent lamps.

        e. Transportation.   The corporate average fuel economy (CAFE) law was
enacted in 1975 and established a fleet-everage goal of 27.5 mpg for 1985 and
beyond.     That goal has been achieved, and the average fuel economy of the new
car fleet has been quite stable at around 28 mpg for several years.        Increases
in fuel economy have produced essentially proportional reductions in con
emissions per vehicle mile.     The CAFE program is controversial and was opposed
by the previous Administration, though the standard was increased by this
Administration in the sprin$ *f 1989-
        rainhar increases in the CAFE standard are feasthle and would likely
redisce CD emissions     estimates of the costs of such increases are
controversial.     It seems clear that widespread use of currently-available and
likely future technologies would permit increases in the average fuel economy
of the new car fleet without reducing performance below recent levels.        The




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office of Technology Assessment (OTA, Plotkin. 1989) considers standards in
the 32-33 mpg range for model year 1995 to be feasible in this sense        The
Department of Energy (Stuntz. 1989) point to a 29-31 spg range for that year
and 36 mpg by 2000     The OTA estimates that by 2010 a 33 upg standard would
reduce U S   fossil fuel con emissions by 0 5 percent (and world emissions by
0 1 percent) and U S    fuel use by 5 percent   Oil imPorts would also be cut

     The difficulty of assessing the costs and benefits of increases in the
CAFE standard was discussed in Section IV A 3. above     Benefits will be
reduced if higher prices than would otherwise obtain reduce new car sales and
thus slow the improvement in fleet.avere5e economy     Benefits will also be
reduced if lower per-mile costs lead to more miles par car     Cost analysis
must also consider impacts on diverse consumers. not just on national
averages, and must take into account performance improvements foregone as well
as the reductions in safety and spaciousness that could occur if manufacturers
meet higher standards in part by downsizing. Since fuel economy labels
provide good information, it is not clear that CAFE standards would remedy any
market failure that could not be addressed more efficiently by employing a
carbon charge or gasoline tax.
     f. Agricultural Policy.     A number of channes in arricultural erosrams
that woJild_have other benefits can be expected to assist in reducine emissions
of areenhouse fases     These include reducina commodity orice suonorr levels
f.Denuragine additional tree plantine. and conservarfon cross connlianca

     This and the preceding Administration have sought to reduce price support
levels for program crops in order to increase the efficiency of resource use
within the agricultural sector      Reducing agricultural subsidies will tend to
reduce total crop acr**5e and change the mix of crops grown      Corn and wheat,
the two most videly grown program crops, account for 57 percent of nitrogen
fertilizers used      As is discussed in Section IV.E. below, the use of these
fertilizers is associated with emissions of nitrous oxide (Na0), a potent
Breenhouse gas.    Reducing income support can be expected to reduce the acreage




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devoted to corn and wheat and, possibly, to increase the acreage devoted to
soybeans, which fix their own nitrogen from the air.     In addition. reducing
incess support is likely to reduce per-acre use of all inputs. including
nitrogen fertilizers (Miranowski et al.).
     Reducing agricultural support prices should also slow the rate of
conversion of forest and woodlands to cropland.     It should also encours5. the
conversion of marginal cropland into forestland, particularly in areas where
commercial forestry opportunities exist.      This could result in a si5nificant
increase in CO: removal from the atmosphere.     The key coint in that less
aunnert would allow farmers to resoond to market channes induced DY climate
chanse.

     Cross compliance (conservation Compliance) requires farmers who cultivate
highly erodible land to have a Soil Conservation Service *PProved conservation
plan by 1990 and to have it fully implemented by 1995.      These plans for the
most part require the use of conservation tillage, which reduces mechanical
soil preparation and mechanical cultivation. Consequently, it reduces the
number of tractor passes through the field and the total tractor operating
hours per acre      This should result in a significant reduction in CO2 and N20
emissions.   But it also could mean increased use of herbicides and pesticides.
 leading to other potential problems

      3. New Technologies.        This section consid 042rs
                                                        the role of advanced
 technology in reducing CO2 emissions in the electric generation and energy
 end-use sectors.    Of particular interest is how much can be gained by broader
 use of currently available technologies that enjoy only limited commercial use
 because they are new and/or expensive, as well as advanced technologies that
 only require modest additional development for widespread application.       33113
   ._cefhnninetes offer strntffrant CD. emissions redurrion morential after
       chere is no simple *technolorical fiz' to this orablem. Regulatory
 barriers may affect the economics and introduction of acme technologies.




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    At any given time, a combination of technological, behavioral. market.                  a
regulatory, and macroeconomic factora interact to determine patterns of energy              ;-
use, the introduction of new technologies into widespread acceptance, and the
further deployment of technologies already in use       Even in the analysis of
high-quality historical data, it is difficult to identify the portion of
actual energy use that is due to any single causal factor, including new
technology     Thus the discussion below can on1v be indicative of the likely
role of new technolorv, further research may well change its conclusions

     Progress in reducing CO, estazions depends on installing and using new
technolo5les in a host of applications        Key determinants of the penetration
of new technologies are sectoral rates of growth and average economic
lifetimes of capital assets.    Lifetimes vary considerably, from motor vehicles
(8-14 years) to residential (30-80 years) and non-residential (31-48 y      042ars)
structures     Electric senerating equipment (10-55 years), other transportation
equipment (16-28 years), and industrial equipment (14-27 years) have
intermediate lifetimes. Moreover, it can take years for economical new
technologies to become eccepted. Thus new energy technologies may not come
 into videspread use even in new installations for years--or even a decade or
more--after they are commercially available.
      a. glectricity Generation.   By 2010 an estimated 400 gigawatts (CH) of
 new electric generating capacity may be needed to meet demand increases and to
 replace existing capacity that will retire.      New technologies can, therefore,
 play a significant role in limiting CO, emissions from new electric generating
 sources.    But it must be recognized that only 65 GU of this total will replace
 retired capacity; about 655 cu (91 percent) of existing capacity will not
 retire until after 2010. Co, emissions may also be reduced as existing
 generating units are repowered and reboilered with more efficient technologies
 or with equipment designed to burn fuels with louer carbon content.
      A variety of new technologies that produce electricity from coal, oil,
 natural gas, and ethane with improved efficiency in the conversion of fossil



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energy into electrical energy are in various stages of development     By
reducing the amount of fossil fuel burned to generate a given amount of
electricity, these technologies can reduce CO, emissions per unit of
electricity produced   Renewable resources, primarily hydropower and wood.
provided B percent of the nation's energy in 1988    Newr renewable resource
technologies, including wind, solar thermal electric, geothermal electric,
photovoltaic, and biomass technologies, will make increasing contributions in
coming decades

     The future use of nuclear power both worldwide and in the United States
is and will be dependent upon many factors, including relative cost, national
security considerations, third world develoPment, progress in dealing with
nuclear waste disposal and nuclear weapons proliferation, continued safe            ..
operation of existing nuclear plants, and establishment of a stable and
certain licensing process,   The goal of the Dog nuclear reactor program is to

develop nuclear reactors with simplified and standardized designs and passive
 safety features, designs uhich hold the promise of revitalizing the nuclear
 power industry through the simplification of the licensing process and
 resulting reduction in costs and financial risks. In addition, an MRC
 rulemaking procedure is in place to pre-approve standardized nuclear plant
 designs so that parties interested in purchasing a plant have assurance that
 there will be no intractable licensing problems, Final designs will be ready
 for demonstration or commercialization in the 1990s and, if public attitudes
 and regulatory changes reduce .business risks, the next meneration of reactors
may came into use after 2000.
      On bálance. while important gains in generation efficiency are possible,
 they are not likely to p 042netrate
                                  the market substantially in the near torn
 based on market forces alone.   The notential for advanced technolony .co reduem
 gyperarten-related CO, emissions annears to incremas substantially after 2000
 but this potential has wide uncertainty bounds.




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        It is technically possible to *scrub" carbon from combustion vaste gases
but it is very expensive      one study concludes that      collection and disposal
of powerplant CO, emissions would at least double the cost of coal-fired
electric power (Steinberg, 1983)       here has also been some discussion of
methods of utilizing only the hydrogen in fossil fuels (Steinberg and Cheng.
1987)       These ideas are in their infancy and are many years away from
co-rcial application

        b   Energy End-Use Technologies    Many estimates of conservation potential
indicate that new technologies could produce significant savings over expected
energy use, even by the year 2000         These estimates are buttressed by analysis
of historical data, which indicates that over the 1972-86 period. technology
improvements have played particularly significant roles in reducin5 energy use
 in all sectors, particularly industrial and transportation but also including
 commercial and residential buildings
        The contributions from new technology to energy efficiency gains are
 potentially substantial, particularly after 2010. Of course, the eventual
 levels of application depend heavily on fuel prices and the economic lifetimes
 of capital stock. Because of lower lifetimes, the prospects for near term
 stock turnover are highest for transportation vehicles, appliances, and some
 light industrial equipment.      Most residential, commercial. industrial and
 utility structures and large equipment technologies require much longer time

 periods to be replaced
         on balance, advanced enerry use technolory seems to have the notential to
                gjgqjficantiv to reducina CO. emissions     but estimates of the
 extent of the contribution vary widelv           Most energy projections indicate that
 energy efficiency gains on the order of 12 percent can occur by 2010 through
 the operation of market forces if fuel prices rise as projected.          Substantial
 additional gains in energy efficiency could occur by application of "best-
 practice" technology. but extensive policy interventions or much hiSher fuel
 prices are essential to achieve thou         Most studies have found that the




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                                                   Lal for efficiency imProvements           e
are mientricant     Significant technical potent
and fuel switching beyond 2010 exist, but increased efforts to dev*l°P *ªÔ
comunercialize new technology are required in the near term to achieve these
gains .

      4. Forestation.         asforestation and afforestation policias meY '**°"*
CO, from the atmosphere and store the carbon in the woody Parts of livin5
trees.  By preventing the release of such carbon, policies that limit
                                     f CO   However, reforestation may affeC
deforestation reduce not emissions o
                                              b C03  As a forest Erows, an
microclimates and the soil's ability to absor
annual flow of carbon is removed. but it is generally assumed that carbon
 release from decay balances carbon uptake from new growth in mature forests
                                 Ivelv) short-term anoroach that nav cause a
 Reforestation is a (comoarat
                                 CO emissions for three to five decades (Sedjo and
 substantial decrease in not
                                            lar e effort would be required to keep
 Solomon, 1958).     After this period, a     &
 the absorbed carbon sequastered. However this delay could allow time for the
 development and adoption of new technologies that emitted less carbon, or the
 nature timber could substitute for fossil fuels creating a closed carbon cycle

 with continuous replanting.
          e, cost Analysis.   Sed,)e and Solomon (1958) Provide cost estimates for a
 51obal reforestation Plan designed to sequester the entire flow of not
 additions of carbon to the atmosphere        Carbon absorption is h15hest for
  recently planted fast Erewing species on tropical sites.       Plantations with
  these characteristics are estimated to sequester 2.3 metric tons of carbon
  annually Per acro      If such sites were used, an estimated 1.1 trillion acres
  of land would be required, while if slower growing tross were planted on sites
  in temperate zones, over 7 4 trillion seres Md
  large requirements; 1.1 trillion acres is 50 percent Greater than the current
  forested area in the United States and more than 15 percent of the forested
  areas in the world.     A forestation program on this scale would require a
  worldwide search for suitable and inexpensive land.




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    Estimated total costs of absorbing global not carbon omissions range from
$372 to $697 billion   Based on total program costs and assuming a 30 year
rotation, the cost renses from $4 29 to $8 03 oer metric ton of carbon
removed   In addition, future harvest of the lar5e quantity of trees required
for significant carbon sequestering could disrupt timber markets and
dramatically reduce incentives for planting on private forestland

     Moulton and Itichards (1989) examine a more modest carbon sequestering
program in the United States   They conclude that marrinal costs Per ton rance
from $17 71 to S107 61 ner metric ton dependine on crosram size       The lower

estimated per ton costs for the lar5er worldwide sequestering program flow
from more optimistic assumptions about both carbon absorption and land costs
These assumptions may be justified on the availability of less expensive land
outside the United States and faster forest growth rates on tropical sites
However, the smaller pro6ram with more possimistic assumptions is probably a
more reliable guide to costs for U.S. reforestation programs.

      Forestation programs of moderate size can h taPimnted in a
 variety of ways to minimize inPacts on land costs. Several options have been
 outlined by the U.S. Forest Service (1969). including volunteer urban tree
 planting programs, cost-sharing and technical assistance programs, and lend
 leasing Programs   For example, enhancing forest growth on sparsely forested
 land would not increase competition for land but would increase carbon uptake
 Urban tree planting would not raise land costs and, by providing shade, may
 reduce fossil fuel consumption by reducing dammad for air conditioning       land
 leasing forestation programs or programs that only involve cost sharing in the
 costs of Pl*DCinS 042
                    "Proving, and managing lands for timber production are two
 alternatives for increasing forestation on Private non-urban land       On a large
 scale, such programs could reduce expected stumpage prices and thus lead to
 reduced forestation in current cosmarcial forests.


                                                                  .   All types of




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forest would tend to have soil erosion benefits when established on erodible
cropland     However, fast growth forest plantations, with repeated harvest of
small trees for fiber or energy, would have few recreational benefits and
offer habitat for limited species of wildlife      Frequent harvests and
replanting of fast growth stands might result in added erosion if such forests
replaced natural forest land or grasslands      Crassland, sparse forest land,
mixed use forest (including grazing use), and old growth forests offer diverse
and unique wildlife habitats and ecosystems      since the greatest intaka of CO3
occurs in young, fast-growing stands, enhancing the carbon storage properties
of land in such current uses would dramatically change the ecosystem, and
widespread forestation with the sole goal of carbon storage could
significantly decrease biodiversity

     b     Management   Escause new forests represent a Erowing stock of carbon,
the efficacy of forestation as a carbon mannsement tool danands importantly on
how the stock of accumulated carbon in mature forests is mannaed.     If new
forests are allowed to nature, significant carbon removal would occur only
over a 30 to 40 year period. To continue carbon removal through forestation
would require forest establishment on increasingly large areas of the Earth's
surface.
     If forest land is cleared for other uses in the future, the carbon stored
during forest growth is then released to the atmosphere. If forest carbon is
somehow stored so that decay and release to the atmosphere does not occur, a
continuous flow of carbon can be removed .    (Solidwood products are estimated
to contain only about 0.5 percent of the carbon in living trees, however
(Rotty, 1986).) More plausibly, forests might be used as an energy source.
In this case, not carbon removal would occur while new forest growth is
established, and a continuing carbon reduction benefit would occur to the
extent that bio-fuels replaced fossil fuels.

     Each of these management options has quite different effects on economic
cost and on carbon removal. Unfortunately, the costs and carben removal
benefits of these options have not been systematically analyzed.


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C. Methane
     Methane (CH.) accounrad fnr ahnur 19 nerrent of the increase in radiatiVt
forcine in the 1980s.   The rise in atmospheric CH. concentrations over the
last century is due to a relatively small imbalance between sources and sinks
Current assessments indicate that atmospheric stabilization will require only
a 10 to 20 percent reduction in annual emissions

     As Table 11.3 showed, the developed countries account for only about 25
percent of anthropogenic CH. emissions. in part because over half these
suissions are produced in agriculture        Thus sienificant    cost-effective
reductions in CH. emissions will recuire elobal action          While a number of
encroaches to controlling these emissions are available         no systematic policy
desirn or costine analysis seems to have been performed          There are ongoing
efforts within the Administration to better quantify the costs of methane
reductions and to develop, refine, and demonstrate best management practices
within the areas discussed below: animal vaste, coal mining, landfills,
livestock, and rice.
     1. Animal Waste.      Animal wastes are estimated to senerate about 4
percent of anthropogenic CH. emissions.      This occurs largely in developed
countries where these wastes are managed in lagoons.       The most promising
technology for abatement of this me^- is decomposition in anaerobic
digesters to produce methane gas, which, like natural gas, can be used to
produce electricity and/or shaft power or be burned in boilers es a heat
source.   This approach is most promising at sites with large animal herds such
as feedlots and dairy farms.    Full recovery at these sites would reduce these
emissions by over 50 percent.   USDA estimated in 1978 that approximately 50
million cons of "economically collectable" livestock and poultry residue, when
converted through anaerobic digestion, could generate CH. equal to 7 percent
of the natural gas consumed in the United States in 1988.




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     Fever than 100 anaerobic digesters currently are operating on farms in
the United States, however.    Most of these are producing electricity to power
farm equipment     Excess electricity often is sold to the utility grid system
Foor economics, management problems and infrastructural barriers have
restricted widespread adoption of this technology.     Most of the plants are one
of a kind and expensive.    Typical costs of electricity generated are 5 to 7
cents per kwh.    Additional research should enable the development of
standardized facilities that are substantially cheaper and more efficient.
Currently, farmers receive 2 to 3 cents per kwh for electricity they provide
to utilities except in a few areas, notably California where 9 to 11 cents per
kwh is paid.     Keny power companies are reluctant to accept power from farmers,
and establish major road blocks adding to the cost of an intertie.

     2.   Coal Mining.      nethane from coal mining is e=ti=eted to contribu©e
13 percent of anthropogenic emissions.     This methane is pipeline quality and
can be recovered as a resource. thereby both reducing CH. emissions and use of
other fossil fuels. It is technically feasible to reduce 60 percent of these
methane emissions through pre-mining degasification.     This recovery would be
performed at a limited number of sites, since about 10 percent of the world's
mines generate most of the methane.     These mines are concentrated in the 9
countries that produce the bulk of the world's coal.                  .
     Economic assessments show that methane recovery can be profitable with
existing technology. Indeed, several recovery operations are running
profitably in the United States. An important limitation to more recovery in
the tited States is that gas companies typically own the rights to the
 ethane in coal mines. The coal companies can only profit from methane
recovery by buying rights to this methane or setting up some sort èf eint
venture operation.
      Preliminary assessments also show that mining mechmas could be profitable
 in countries such as China and Poland. For example, analysis suggests that it
 is less expensive for China to derive BTUs from mining methane than coal.




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Much of China's coal is deep mine coal that is expensive to bring to the
surface, and gas pipelines are less expensive to build than the railroads
necessary to transport the coal.    Despite these analyses, mechane mining has
not been implemented on a large scale, and a continued rise in coal mining
activity is planned to meet China's growing energy needs.    Since the USSR,
China, East Germany, and Poland are major coal producers, transfer of methane
recovery and methane mining technologies to these countries could produce
substantial benefits.

     3. Landfills.      1.andfills, mainly in developed couneries, are estim.ced
to contribute 10 percent of anthropogenic CH. emissions.    Of the 6,584
municipal solid waste landfills in the United States, only 123 (1.9 percent)
now recover methane for energy use.    Under current market conditions, methane
recovery is only viable for large sites with a suitable gas user nearby or at
which electricity can be generated and sold into the grid. Regulatory
barriers also exist in many areas. Ongoing research aims at enhancing the
economic viability of methane recovery.

     EPA hopes to promulgate regulations limiting CH. emissions from large
landfills in the United States.    EPA believes that these regulations have the
potential to reduce total anthropogenic CH. emissions by about 1.5 percent.
Controls applied in other countries could produce further reductions.

     4. Livestock.      1,1vestock 8enerate about 20 percent of anthropogenic
CH. emissions.   Intensive (grain-fed) animal production systems used in   .
developed countries result in significantly less methane per unit of output
sh== do extensive (grass-fed) systems prevalent in developing countries.
Produccidh methods that enhance efficiency of livestock enterprises also
rédüën methène emissions per unit of output. Through changes in die and
           Áf smaller herda due to increased productivity, emi siens mayÃ
redu    $f 2f to45 percent. Other options for mechans reduction inc
                hermanas and lower price supports      e e at of




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     In developing countries, many of the cattle are nutrient-deficient         By
supplying nutrient supplements, methane emissions can be reduced. but the
costs and potential of this approach are not well understood      In general
while it is possible to reduce methane emissions from intensive livestock
production systems, relative gains will be small and may not be achieved
without significant technological advance     Further develoPeent of best-
practice livestock management systems and diffusion of those systems into
practice seem the most promising steps in this area

     5.   Rice.   Rice cultivation accounts for about 34 percent of
anthropogenic CH, emissions    Recent work shows that methane emissions may be
reduced by decreasing use of animal manures as fertilizer, but there is still
considerable uncertainty regarding the cost and volume of reductions that can
be achieved in this manner
                                                                                         9
 D. CFCs and Related Substances
      Chlorofluorocarbons (CFCs) accounced for about 14 narcent of increased
 radiative forcine in the 1980s.   In the absence of any control measures, CFCs
 would account for a much larger share of future increases.    However, the
 Montreal Protocol on Substances that Deplete the Ozone layer represents a
 commitment to significant controls.   While primarily aimed at limiting CFCs
     halons because of the threat they pose to the ozone layer, this treaty
 also results in substantial benefits in terms of global watning.     The Montreal
 Protocol has now been ratified by 49 nations and the European C===ity.
 These nations account for over 90 percent of the global consumption of CPCs.

       In response to recent scientific evidence that the risks of ozone
  depletion from CFCs and other ozone-depleting substances are greater than
  previously thought, President Bush and others have called for strengthening
  the Protocol by phasing out CFCs and halons .completely.    Over 70 nations
  supported the Helsinki Declaration at the first meeting of.the Part es to the
  Montreal Protocol in May 1989. which calls for a phase-ougpf CFCs amt     ons



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 and limits on other ozone-depleting chemicals.   The Protocol will be
 renegotiated in June 1990 and will almost certainly include a phase-out of all
 CFCs by the year 2000 for applications where there are safe substitutes plu.s
 major reductions in halon use. This chase-out would significantly reduce the
 increase in radiative forefne in the neYr century

      Significant technological advances made during the past several years
 make such a phase-out feasible.   In the near term, substantial emission
 reductions are being achieved through increased recycling and improved
 housekeeping (particularly by electronics companies in their use of CFC-113).
 Development of chemical and process substitutes has also progressed rapidly
 and has allowed major firms and industries to establish goals for eliminating
 their use of CFCs ahead of the likely Montreal Protocol schedule.    For
example, IBM and AT&T have a phase-out goal by 1994 and the electronics
industry as a whole, through its major trada association, has established the
goal of an 80 percent reduction by 1997 and a phase-out by 2000.     Similarly,
the rigid foam insulation industry has established a goal of a complete phase-
out by 1995.

     The costs of eliminatine the use of CFCs and halons will be amoreximatelv
$3 billion over the next ten wears (1989 dollars, discounted at 5 percent).
These costs could be substantially reduced, along with CO: emissions, if
industry can move to more energy efficient refrigerants.   For example, if the
use of NFC-152a as a refrigerant proves acceptable, cost savings from improved
energy efficiency could reduce the costs of a phase-out in these applications
by 57 percent over the next ten years. EPA and other agencies are working
with several industry groups to examine technol*51cal, environmental, and
institutional issues related to the use of a wide array of more energy
efficient, low Greenhouse alternatives.




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E. Nitrous Oxide
    Microus Oxide (N.0) acc.nianr.d for ahnur % narcent of the increase in
radiative forcine in the 1980s.   As Section 11 noted, data on sources of Np
emissions are quite poor.   The primary anthropogenic source s 042to042ss
                                                                     be the
use of nitrogenous fertilizers, which is increasing at 1.3 Percent per year in
industrialized countries and 4.1 percent per year in developing nations.

      From the point of view of policy design, it is unfortunate that the
nitrogen content of fertiliser is BR£ the primary determinant of NA
emissions.   Emissions of Np vary by one to two orders of magnitude among
different types of nitrogenous fertilizers.    Other factors affecting emissions
include the rate and timing of fertilizer application. the placement of
fertilizer (deep or shallow), water management (particularly in rice
cultivation), tillage and herbicide use, and the use of legumas as a nitrogen
source. No systematic attention seems to have been devoted to the desirn or
cost of solicies to reduce Np emissions from fertilizer use or other sources.
in eart because the relevant science base is weak. though some of the
agricultural policy changes discussed in Section IV.B.2.g., above, would
likely reduce N:0 emissions from U.S. farms.
     New technologies that improve fertilization efficiency also tend to
reduce Na0 emissions, but little appears to be known about their cost-
effectiveness.   Advances in biotechnology. particularly the development of
weed-resistant crop varieties and nitrogen-fixing cereal crops, may reduce Ngo
emissions in the future.




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